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UNITED STATES DISTRICT COURT FOR THE DISTRIGE@F COLUMBIA

US DISTRICT & BANKRUPTCY
COURTS FOR DC
CRYSTAL B. NWANERI, 2820 SEP 17 P 2 58
Plaintiff, re ror
Civ. Not 79-4-01540 (DDC)
V. Demand for Jury Trial
QUINN EMANUEL URQUHART & SULLIVAN LLP,
WILLIAM BURCK,
DEREK SHAFFER, and
JON COREY,
Defendants.

FIRST AMENDED COMPLAINT
Upon her own knowledge and otherwise upon information and belief, Plaintiff Crystal B. Nwaneri,
alleges employment discrimination (based on race, gender, and familial status), ongoing
harassment and retaliation by Defendants, in violation of federal and state anti-discrimination

statutes and tort law, as follows:
L INTRODUCTION

1. Plaintiff, an African-American woman, was employed from 2012 until 2016 as an
associate in the Washington, D.C. office of Defendant Quinn, Emanuel, Urquhart, and Sullivan,
LLP (“Quinn Emanuel”). During that time, Quinn Emanuel’s male leadership created and
facilitated an inequitable “boys’ club”, comprised almost exclusively of white men, in which
minorities (particularly African-Americans) and women (particularly those have taken statutorily
protected maternity leave) have been subjected to a deeply ingrained double standard that results
in them being disproportionately paid less, promoted less often, and provided with substantially

fewer development opportunities than similarly-situated white and male attorneys.

 

 

 

 
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2. The D.C. office’s boys’ club, led by the office’s managing partners, created a frat-
house atmosphere that not only tolerated, but welcomed, its members’ antics—behavior that was
not only childish but also racially offensive, sexist, and homophobic. For example, male attorneys
would often enter the offices of unwitting attorneys to send embarrassing and infantile emails from
other attorneys’ computers, such as one message claiming to be an emergency request for Pepto
Bismol because the purported sender had diarrhea and was expecting a client momentarily. On
another occasion, an associate sent a mass email suggesting Latinos were drug-dealing and
machine-gun wielding criminals, as he “joked” that a necktie depicting cocaine and AK-47’s was
befitting of a Colombian attorney.

3. Rather than reprimand these attorneys—both of whom were white male associates
at the time—-the office’s boys’ club rewarded them with partnership. Likewise, the fraternity’s
senior partners also brazenly engaged in racially offensive and sexually explicit discussions
generaliy and about other attorneys with whom they worked.

4, In one exchange, Defendant William Burck (the co-managing partner of the D.C.
office) and another senior partner in the D.C. office (Mike Lyle, who has since been elevated to
co-managing partner of the D.C. office alongside Burck) vulgarly discussed the female anatomy
generally and of a female associate working on a matter for the two men at the time. Burck
commented that he "saw an ass on a girl in Geneva today that I would kiss. I don't mean even just
on the cheeks. Right on the sphincter. Yes, it was that good." Lyle responded: "Your day sounds
way better than mine. The only female ass I have seen all day is [female D.C. associate who was
then working for both men]’s. Fuck, I shouldn't have said that because now my dick hurts." Burck
replied: "Your dick hurts because you got a stiffie thinking about [female associate]’s ass??? Jesus

H. Christ. You are one sick fucking puppy, you stupid gimp fuckhead."
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5. After Plaintiff, an African-American woman, complained to Burck and others in
firm management about the disparate treatment and harassment she experienced from a junior
partner Burck frequently worked with (Derek Shaffer, who is also white), Burck began repeatedly
disparaging Plaintiff as “fucking stupid” and “an idiot”, notwithstanding that Plaintiff is a well-
educated graduate of Georgetown University Law Center, had completed two federal clerkships
before joining Quinn Emanuel, and that Burck had limited to no knowledge of Plaintiff's work at
the time he made these disparaging comments. Consistent with his low opinion of Black people,
Burck has also described the predominately African-American survivors of Hurricane Katrina as
“animals”, as he did while addressing the court during a 2016 hearing.

6. This is the atmosphere that Defendants and Plaintiff experienced upon her return
from maternity-leave in early 2015. And she ran afoul of the boys’ club by complaining about the
disparate treatment and hostile environment she was subjected to by some of the office fraternity’s
most senior members, Defendants Burck and Shaffer, on her first assignment after returning from
maternity leave (and her first time working with Burek or Shaffer). As explained below, during
the four months she was involved in this case, Defendants treated her substantially different than
her white and male colleagues, including by assigning her less favorable and substantive work than
similarly situated white males on the case team, subjecting her work to more scrutiny and
unwarranted criticism, and frequently engaging in verbal abuse and other confrontational and
degrading behavior with Plaintiff, while coddling the white and male associates on the case team.

7. In response to Plaintiff's complaints about Shaffer, Defendants began a ruthless
campaign of retaliation against Plaintiff and her close family members that is ongoing. Beyond
Burck’s pervasive and disparaging insults about Plaintiff and other retaliatory conduct from

Defendants, Defendants retaliated against Plaintiff by deciding in July and August 2015—less than
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4 months after she returned from maternity leave and began work on her first D.C.-based case: (1)
to deny Plaintiff any consideration for promotion to partner or of counsel (even though Plaintiff
had already deferred partnership consideration until the next year, as allowed by the firm’s policy
and agreed to by her partner mentor), and (2) to wrongfully terminate Plaintiff's employment (even
though the firm’s April 2015 performance review for Plaintiff was entirely positive and that she
was “on track”).

8. Even though Defendants had no justification for their decision to deny promotion
and terminate Plaintiff's employment, they nonetheless marched forward with their plan and
informed the founding partner, John Quinn, in or around August 2015 of their plan to terminate
Plaintiff's employment. But they kept Plaintiff in the dark about these decisions until May 2016,
nearly a year later. In the interim, Defendants scrambled to concoct a post hoc reason for their
adverse employment decisions by, among other things, subjecting Plaintiff to an unprecedented
level of scrutiny, interfering with her existing and prospective billable work, spreading false and
misleading information about Plaintiff throughout the firm to dissuade other partners from working
with her, and subjecting Plaintiff to other affirmative efforts to suppress her billable hours.

9, As Defendants attempted to retroactively justify their July and August 2015
decisions to terminate Plaintiff's employment without considering her for promotion,
Defendants—particularly Burck and Corey—actively misled Plaintiff about her status at the law
firm, claiming that no partnership decisions had been made, that they were satisfied with her work
product, Shaffer’s feedback about the 4 months they worked together on the previous case would
not be included in her annual review for that year, and that Burck was assigning her to two smailer

matters in August 2015.
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10. But, as Plaintiff later learned, the two August 2015 matters were set-ups for failure.
Both case teams were small—i.e., 2-3 people-—and already staffed with attorneys at Plaintiffs
level, so there was no role for Plaintiff. Moreover, Burck took various steps to undermine and
demean Plaintiff to the other associates on the matter, including Ben O’Neil, a white male associate
who often worked with Burck and was up for partnership that year. Just a week after staffing
Plaintiff on the new matter with O’Neil (and before Plaintiff had done any work on the matter),
Burck disparaged Plaintiff as an “idiot” to O’Neil and shortly thereafter directed O’Neil to “fight”
and to “be a man” with Plaintiff, causing O°Neil to be extraordinarily aggressive with Plaintiff,
much like the ongoing harassment she experienced with Shafter.

11. Plaintiff complained about O’Neil’s conduct to Burck in October 2015, unaware of
Burck’s degrading comments about Plaintiff and his efforts to encourage O’Neil’s hostility toward
Plaintiff. Burck continued to mislead Plaintiff about her status on the case and at the law firm,
telling her that her work was “good” giving her additional work on the matter, which she reverted
the next day. While Defendants’ mixed messages regarding Plaintiff's future at the firm were
confusing, what became apparent was Quinn Emanuel’s continuing—and escalating—pattern of
retaliation against Plaintiff each time she opposed Defendants’ discriminatory and unlawful
conduct. Shortly after her October 2015 complaints about O’Neil, Burck phased Plaintiff off the
August 2015 cases with no explanation and made no efforts to assist her in finding additional
billable work.

12. | Even more, as Burck’s role in Plaintiff's difficulty in securing billable work became
more apparent, Plaintiff approached Corey with her concerns several times, including in-person
meetings in early 2016 and emails in March and April 2016. Quinn Emanuel responded the same

way each time: denial of any underlying problem, claiming there was no billable work, and
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refusing to investigate Plaintiff's concerns. Meanwhile, Defendants—~in particular, Burck—
continued efforts to concoct a justification for the August 2015 decision to terminate Plaintiff's
employment.

13. When Plaintiff complained to Corey via email about Burck’s apparent sabotage of
her efforts to find or maintain billable work in April 2016, Defendants retaliated immediately by
setting a meeting with Plaintiff and Corey to discuss her concerns (as Corey was not only the other
co-managing partner of the office, but also the designated EEO and harassment contact person).
At the May 4, 2016 meeting, Corey ambushed Plaintiff by having Burck attend the meeting, at
which point they announced that Plaintiff would not receive partnership consideration and that she
should “move on” from the law firm, although they provided no justification for the decision or
any specifics about when or how Plaintiff should “move on”.

14. When Plaintiff followed up with Corey to ask for a meeting with him alone (as she
had anticipated the May 4 meeting would be) and to provide additional examples of Burck’s efforts
to sabotage her, Quinn Emanuel responded by flatly denying and dismissing her concerns. In a
June 2016 meeting, Corey first told her that her end-date would be July 2, 2016, which was only
weeks away.

15. After Plaintiffs employment counsel sent Quinn Emanuel another written
complaint on June 30, 2016 concerning Defendants’ discriminatory and retaliatory conduct,
including citations to Burck’s racist and homophobic references about minority attorneys, such as
his and O’Neil’s frequent use of the terms “he-she” and “tranny” in reference to a minority male
attorney. A week and a half later, Defendants retaliated against Plaintiff by suddenly cancelling
its representation of Plaintiff's father-in-law, Ngozika Nwaneri, Senior (the 70-year-old father of

Plaintiffs husband, Ngozika Nwaneri, Junior), based on a falsified balance for a nominal amount
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of money that had been outstanding for less than 30 days. Quinn Emanuel went to extreme lengths
to ensure its withdrawal from the case, including refusing to accept any payment on the purported
outstanding balance and repeatedly swearing the bill amount was correct even though it was wrong
on its face and in breach of their fee agreement (months later, Quinn Emanuel later admitted the
billing error, and only in the context of the bar complaint Mr. Nwaneri, Senior filed against Corey
regarding his and the firm’s improper cancellation of its representation based on a falsified bill).

16. Quinn Emanuel’s pattern of retaliation continued and escalated after Plaintiff filed
the attached discrimination charge against Defendants (specifically naming Defendants Burck,
Shaffer, and Corey) with the Equal Employment Opportunity Commission (“EEOC”) and related
state agency in February 2017. See Ex. 1 (discrimination charge marked as received by February
28, 2017). Less than 3 days after receiving the charge, Quinn Emanuel began drafting its complaint
against Plaintiff's father-in-law seeking the same fees Quinn Emanuel refused to accept or to
correct in 2016 when seeking to withdraw as counsel. Defendants filed their retaliatory arbitration
with JAMS on March 22, 2017, approximately 3 weeks after Quinn Emanuel received Plaintiff's
discrimination charge.

17. Although Quinn Emanuel is a 700-lawyer law firm with gross annual revenues of
approximately $2 billion (and $1.6 billion in 2016, according to AmLaw), Defendants’ lawsuit
against Plaintiff's father-in-law sought only $20,000, and Defendant deployed a team of
approximately 10 attorneys (employed at Quinn Emanuel) to extract payment. Throughout the
arbitration lawsuit and related proceedings, Quinn Emanuel has also demanded over $500,000 in
additional fees to compensate itself (at market rate and then some) for its efforts to collect a

$20,000 disputed fee.
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18. Defendants then abused the arbitration lawsuit process to retaliate against Plaintiff
directly, including ridiculous demands for her to provide discovery and a third-party deposition in
the case, even though such testimony is ever necessary from a former associate in a fee dispute,
particularly not while an EEOC charge is pending against the law firm, and when the fee dispute
arose after her departure. Equally retaliatory (and ludicrous) was Quinn Emanuel’s demand that
Plaintiff—who was not a party in the dispute—pay for the costs of the third-party deposition Quinn
Emanuel relentlessly sought (over Mr. Nwaneri, Senior’s and Plaintiffs objections). Defendants
also used Quinn Emanuel’s arbitration lawsuit to harass Plaintiff in various ways, including by
admittedly hiring a private investigator to follow and stalk Plaintiff and her close family members
for the alleged purpose of serving their third-party deposition subpoena, which had not yet been
issued, among other efforts by Defendant to intimidate, humiliate, and silence Plaintiff after her

filing of the discrimination charge.

Il. JURISDICTION AND VENUE

19. Plaintiff brings this action against Defendants Quinn, Emanuel, Urquhart, &
Sullivan, LLP, William Burck, Derek Shaffer, and Jon Corey, alleging claims of race, gender, and
maternity leave discrimination and retaliation in violation of federal and state laws including 42
U.S.C. § 1981 (“Section 1981”), 42 U.S.C. § 1985(3) (“Section 1985(3)”), Title VII of the Civil
Rights Act of 1964, the Family Medical Leave Act (“FMLA”), the D.C. Family Medical Leave
Act (“DCFMLA”), the D.C. Human Rights Act of 1977 (“DCHRA”), and state tort laws
prohibiting wrongful termination and tortious interference with employment relationships.

20. This Court has subject matter jurisdiction over Plaintiff's claims under federal law

pursuant to 28 U.S.C. § 1331 and supplemental jurisdiction over Plaintiff's DCHRA and other
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state law claims because they are so related to the federal claims in this action that they form part
of the same case and controversy under Article III of the United States Constitution.
21. Venue is proper in this District under 28 U.S.C. § 1391(b)(2) because a substantial

part of the events or omissions giving rise to Plaintiffs claims occurred in this District.

il, PARTIES

22. Plaintiff Crystal B. Nwaneri joined Quinn Emanuel’s Washington, D.C. Office as
an associate in 2012 and was employed by the firm until 2016. During all relevant times, Plaintiff
was an African-American female “employee” as defined by Title VI, the DCHRA, the EPA, and
the FLSA.

23. Defendant Quinn, Emanuel, Urquhart, and Sullivan LLP (Quinn Emanuel”) is a
California limited liability partnership and a business litigation law firm with over 700 attorneys
in its employ.

24. Defendant William Burck (“Burck”) is a partner at Quinn Emanuel and the co-
managing partner of the firm’s Washington, D.C. office. Upon information and belief, Burck
actively and knowingly engaged in, aided, abetted, and coerced discriminatory and unlawful
actions against Plaintiff.

25. Defendant Jon Corey (“Corey”) was a partner at Quinn Emanuel and co-managed
the Washington, D.C. office with Burck until early 2018, when he resigned from the state bars of
the District of Columbia, New York, and California during the pendency of the D.C. Bar’s
investigation of the bar complaints Mr. Nwaneri, Senior filed against him, Upon information and
belief, Corey actively and knowingly engaged in, aided, and abetted discriminatory and unlawful

actions against Plaintiff.
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20: Defendant Derek Shaffer (“Shaffer”) is a partner at Quinn Emanuel] in the
Washington, D.C. office and works closely with Burck. Upon information and belief, Shaffer
actively and knowingly engaged in, aided, abetted, and coerced discriminatory and unlawful

actions against Plaintiff.

IV. FACTUAL ALLEGATIONS

27. Plaintiff, an African-American woman, graduated with distinction from
Georgetown University and Georgetown University Law Center. She joined Quinn Emanuel's
D.C. office in 2012 with substantial legal experience, including her completion of two federal
judicial clerkships on the United States Court of Appeals for the Seventh Circuit and the United
States District Court for the District of South Carolina.

28 At all relevant times, there were no partners who identified as African-American or
Black in the Washington, D.C. office. Of the 700 attorneys employed by the law firm, fewer than
10 were African-Americans according to Quinn Emanuel’s self-reported demographics to the
NALP directory. Upon information and belief, Plaintiff was the most senior African-American
female attorney at the law firm for the majority of her tenure there.

29, Although Plaintiff was an associate in the D.C. office, she had little exposure to the
partners in the D.C. office for her first two years at Quinn Emanuel. Between 2012 and 2014,
Plaintiff primarily worked with partners located in other offices or on matters that required her to
work away from the D.C. office, such as her 2012-2013 work on matters in New York. Similarly,
she spent most of 2014 working on a tax matter in Europe, which required her to spend the vast

majority of each month in Switzerland, at a time when Plaintiff was pregnant with her first child

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and also coordinating the medical care and legal affairs of her terminally ill mother who resided
in South Carolina.

30. In September 2014, Plaintiff gave birth, and in early October 2014, Plaintiffs
mother away. Plaintiff took the statutorily provided FMLA leave and returned to the D.C. office
in early 2015, looking for billable work on matters located in D.C. and preferably with D.C.-based
partners, with whom Plaintiff had had limited exposure.

31. Shortly after Plaintiff's returned to the D.C. office from leave, she received an
exemplary annual performance review at her April 2015 review meeting. The feedback was
wholly positive, and the review did not contain any negative comments or identify any areas for
improvement. Rather, the partners complimented Plaintiff's substantive work and teamwork,
icadership, client relations, and commitment to the firm. The reviewing partners also stated that
she was “on track” and should keep up the good work.

| 32, On April 27, 2015, Plaintiff formally deferred partnership consideration until the
following year, as allowed by Firm policy. Plaintiff's partner mentor agreed with Plaintiffs
decision in light of Plaintiff's need to cultivate relationships with D.C.-based partners and to
develop a more complete portfolio of substantive work and business development. He confirmed
that the firm would not consider Plaintiff for partnership until the following year (approximately
November 2016).

33.  Asexplained in this Complaint and the attached discrimination charge, Defendants
discriminated against Plaintiff beginning with her first case assignment after she returned from
maternity leave in 2015. Defendants subjected Plaintiff to discrimination based on her race,
gender, and recent return from maternity leave by treating Plaintiff substantially worse than her

white and male peers and creating a hostile work environment for Plaintiff. After Plaintiff

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complained to firm management about the disparate treatment and harassing environment Shaffer
and others had subjected her to, Defendants began a relentless campaign of retaliation against
Plaintiff.

34. As one example of Defendants’ retaliation, just four months after Plaintiff's April
2015 performance review and deferral of partnership consideration until the next year, Quinn
Emanuel partners in the Washington, D.C. office with whom Plaintiff had never worked before
decided not only that Plaintiff would not be promoted to partner (according to Defendant Shaffer
in a July 7, 2015 meeting with Plaintiff), but also decided in August 2015 to terminate Plaintiffs
employment. Despite having no lawful justification for their decision, Defendants Burck and
Corey (the D.C office’s co-managing partners at the time) communicated their decision to firm
headquarters in California and the law firm’s founder, John Quinn, in or around August 2015.

35. Defendants then engaged in a post hoc campaign to justify their earlier decision,
including, but not limited to, extensive efforts to intentionally depress Plaintiff's billable hours,
subject her to unwarranted and relentless scrutiny, make false and sontiived vilewations about
Plaintiff's performance to lower her next performance review, dissuade other partners from
working with her, publicize their plan to terminate Plaintiff to other attorneys (while withholding
that information from Plaintiff herself}, ensure that Plaintiff was removed from new matters that
had been assigned to her, and other acts intended to interfere with Plaintiff's work conditions,
performance, and productivity. Defendants’ attempts to find or fabricate a post hoc justification
for their termination decisions continued until May 2016, when Defendants finally informed
Plaintiff of their decision to terminate her employment and deny her partnership consideration due
to her inability to secure billable work and low hours in 2016—.c., the very conditions Defendants

had created.

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2015 RETURN FROM MATERNITY LEAVE: FIRST D.C.-BASED CASE

36. In early 2015, Plaintiff returned to the law firm from bereavement and maternity
leave taken pursuant to the FMLA and DCFMLA. Quinn Emanuel made little efforts to assist
with her re-integration into the firm or her search for billable work in the D.C. office. In March
2015, she was staffed to her first D.C.-based case with two partners she had never worked with
before: Burck, who was the relationship partner on the matter, and Shaffer, who ran the matter
day-to-day. Shaffer is widely known as difficult to work with, prone to tantrums, and especially
venomous towards minorities and women.

37. During the four months Plaintiff worked with Shaffer, he was extremely verbally
abusive and hostile towards Plaintiff (including publicly degrading her without cause), while
treating similarly situated white and male attorneys on the case team in the opposite manner. From
the beginning of the case, Shaffer directed Plaintiff to report to a white male associate who was
two years her junior and had only recently joined the law firm. Shaffer also frequently subjected
Plaintiff's performance to greater scrutiny and unwarranted criticism than her white and male
peers, assigned more favorable work to Plaintiff's white and male peers, and interacted with the
white and male members of the case team in a manner starkly different that his interaction with
Plaintiff. While Shaffer protected and avoided confrontations with Plaintiff's white and male peers
(e.g., avoiding asking a white male associate about his tardiness in circulating a draft brief, and
then answering on the white attorney’s behalf when Plaintiff inquired about the status), Shaffer
went out of his way to be confrontational with Plaintiff (e.g., publicly denigrating Plaintiff over
email without cause, verbal abusive and tantrums so loud that other employees could hear his

screaming behind closed doors), and aggressive behavior.

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38. In April and May 2015, Plaintiff complained to Quinn Emanuel about Shaffer’s
abusive and disparate treatment to two partners, one of whom was located in the D.C. office and
the other in a different office. Shortly after Plaintiff's meeting with the D.C. partner, Shaffer's
conduct worsened as he became more verbally abusive towards Plaintiff, punitively changing the
case schedule (e.g., insisting that non-essential assignments be completed at times he was fully
aware conflicted with Plaintiff's pre-existing family and childcare responsibilities), and closely
scrutinizing Plaintiffs activities and attendance (.e., making repeated unannounced visits to
Plaintiff's office and/or back-to-back phone calls to Plaintiff and her secretary, even when there
were no time-sensitive or pending issues).

39. In particular, during a two-month period when the case team’s other two associates
were away at other trials, Plaintiff singularly handled the vast majority of the casework, including
case management and substantive work, discovery requests, correspondence with opposing
counsel, document collection and review, fact development, and expert retention. But despite
Plaintiff's productivity and the client’s positive feedback, Shaffer rarely acknowledged Plaintiffs
efficient management of the matter or her handling of three associates’ work. Instead, Shaffer
looked for opportunities to publicly humiliate and criticize Plaintiff without cause, while
demanding Plaintiff complete more work under tighter time constraints.

40. Conversely, Shaffer made frequent allowances for the critical errors of white and
male associates on the case team, including willingly ignoring a white male associate’s weeks’
long tardiness on an external deadline for a brief (which delay ultimately required the client to
request a formal extension from the court) and thanked him profusely when he finally circulated
the draft. But when Plaintiff requested a brief extension on an internal deadline due to her heavy

workload on the case (and Shaffer’s insistence on an inefficient approach for a related project) in

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June 2015, Shaffer went ballistic, openly ridiculed Plaintiff in front of the entire case team, and
immediately reassigned the project to a white male associate who had recently returned to the case
team.

41, Specifically, while Plaintiff was simultaneously working on multiple case
assignments (during the other two associates’ absence from the matter), Shaffer tasked Plaintiff
with conducting more than 20 on-site fact interviews with the client’s employees, without any
associate support and under a short deadline. Plaintiff warned Shaffer of several key employees’
lack of availability to meet in-person and suggested conducting interviews by telephone, but
Shaffer insisted the interviews be conducted on-site. As a result of scheduling conflicts and
Shaffer’s insistence on in-person interviews, Plaintiff needed a short (i.e. hours-long) extension
on an internal deadline for a related assignment. In a series of emails to the entire case team,
Shaffer blamed Plaintiff for the short delay, falsely claimed Plaintiff was inexplicably “radio
silent,”! denigrated her proposed strategy for completing the remaining assignments as a “joke,”
and abruptly reassigned the nearly complete assignment to a white male associate who had recently
returned to the case team.

42. Plaintiff complained to the firm’s management about Shaffer’s disparate and
abusive treatment several times in 2015. Each time Plaintiff opposed or reported Shaffer’ s
conduct, Quinn Emanuel retaliated against Plaintiff instead of addressing or investigating her

concerns. For example, Plaintiff complained to Burck and Corey about Shaffer’s particularly

 

1 Shaffer was not only aware that the delay was caused by his insistence that the interviews be
conducted in person at the client site, but Shaffer also knew that Plaintiff was out of the office
attending a summary judgment hearing in federal court (and therefore without telephone and email
access). In fact, Shaffer had asked Plaintiff to escort three summer associates to the hearing,
which he knew Plaintiff would be attending days in advance, and emailed Plaintiff the morming of
the hearing to confirm those plans.

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explosive June 2015 tirade, including a July 7, 2015 email to Burck (the partner responsible for
the matter) and Shaffer noting Shaffer’s disparate and abusive treatment towards her and
highlighting the June 2015 incident in particular. Plaintiff's July 7 email made clear that Shaffer’s
mistreatment of Plaintiff was unwarranted, unwelcome, unfair, and disproportionately directed to
Plaintiff. In particular, Plaintiff identified her race (as the only African-American on the case
team) as the apparent reason for Shaffer’s discriminatory conduct, and asked Shaffer to treat her
with the same respect as he afforded her white and male colleagues.

43. Again, rather than investigate Plaintiff's concerns, Quinn Emanuel made no efforts
to resolve Plaintiff's complaints. Burck never responded to Plaintiff's July 7, 2015 email. Nor did
he show up to Plaintiff's meeting with Shaffer later that day, which was intended to discuss
outstanding case issues such as Shaffer’s particularly explosive and humiliating tantrum in June
2015. Instead of discussing or making any attempt to resolve those issues, Shaffer flew into
another rage during the meeting, verbally attacked Plaintiff, and gloated that he and Burck had
already decided that Plaintiff would not be promoted to partner, among other things. Plaintiff
repeatedly asked why that decision had been made; what deficiencies or problems supported their
decision; and why Shaffer was in a position to make such a decision given her earlier deferral of
partnership consideration (which the firm had approved in April, partly due to Plaintiff's recent
return from maternity leave).

44. Shaffer could not provide any specific context or examples during the meeting, nor
could he explain their justification for reaching such a decision, as this case was the first time
Plaintiff ever had worked with Shaffer or Burck; her role on the matter only lasted 4 months; and

Plaintiff had just received a positive “on track” annual performance review just two months earlier,

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45, After the meeting, Shaffer and Burck retaliated against Plaintiff again by drastically
reducing her role on the case, marginalizing her, and transferring her case assignments and
supervisory responsibilities to a white male associate.

46. After the disastrous July 7 meeting with Shaffer, Plaintiff complained about
Shaffer’s disparate treatment and harassment to firm management again, this time contacting
Corey, who was the firm’s designated EEO and harassment contact person and co-managing
partner of the D.C. office at the time. Plaintiff met with Corey in mid-July to discuss Shaffer’s
discriminatory and harassing conduct including the blow-up in June 2015, Shaffer and Burck’s
marginalization of Plaintiff after her July 7 email and meeting with Shaffer, and Shaffer’s claim
that he and Burck had already decided that Plaintiff would not make partner at Quinn Emanuel.
Corey brushed Shaffer’s statements off, saying Shaffer was a “baby partner” and that Plaintiff
should ignore Shaffer’s comments about denying her partnership. He dismissed Shaffer as
“difficult” to work with, and assured Plaintiff that Shaffer’s feedback about the 4-month project
would not be included in her performance review for that year. Less than a week after Plaintiffs
meeting with Corey, however, Burck and Shaffer removed Plaintiff her from the matter entirely

without notice and replaced her with another white male associate.

DEFENDANTS’ JULY AND AUGUST 2015 DECISION TO TERMINATE PLAINTIFF’S
EMPLOYMENT
AND DENY HER PARTNERSHIP CONSIDERATION
47. As Plaintiff eventually learned, Defendants had, in fact, agreed in July to deny
Plaintiff partnership consideration, as Shaffer admitted in his July 7 meeting with Plaintiff. In

August 2015, Defendants also agreed to terminate Plaintiff's employment. Upon information and

belief, Defendants Burck and Corey announced their decision to the firm's founding partner John

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Quinn, notwithstanding that: (1) they had no justification for their decision to terminate Plaintiff;
(2) Plaintiff had postponed partnership consideration until the next year, as per the firm policy,
and which her partner mentor had already approved in April 2015; and (3) Plaintiff's annual
performance review, which the firm provided in April 2015, was entirely positive and indicated
she was on-track for promotion.

48. As Plaintiff explained in her November 28, 2017 letter to the EEOC: “Substantial
evidence shows that, in addition to distributing his “idiot” emails (dated Aug. 2015) Burck and
Corey (the two managing partners of the DC office) decided to terminate me in August 2015, and
acted in concert with others at Quinn Emanuel, including firm managing partner John Quinn, to
unlawfully terminate me. See, e.g., John Quinn’s November 12, 2015 email to Corey and Burck,
titled “has Nwaneri been asked to leave yet?”, which makes clear that their decision was finalized
long before. In response, Corey confirms “this one is on Burck’s plate and will be done soon”;
John Quinn replies: ‘needs to be done.””

49. Like Defendants’ decision to deny Plaintiff partnership consideration, the decision
to terminate Plaintiffs employment was also made in retaliation for her complaints about Shaffer,
including the July 7 email opposing Shaffer’s discriminatory and disparate treatment of Plaintiff,
which Plaintiff believed were racially motivated.

50. Defendants made extensive efforts to manufacture a justification for their adverse
decisions, particularly because they had already informed John Quinn of their plan but still lacked
any legal justification. Defendants went to great lengths to find or concoct a reason for their July
and August 2015 decisions to terminate Plaintiff and deny her any partnership consideration,
including, but not limited to, intentionally suppressing Plaintiff's billable hours, depriving her of »

and interfering with her existing billable assignments, dissuading other partners from working with

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her, and subjecting Plaintiff to harassment and hostilities by Defendants and other employees they

encouraged to follow suit.

“NEW” AUGUST 2015 CASES DESIGNED FOR FAILURE

51. | Meanwhile, as Defendants attempted to manufacture a justification for their July
and August 2015 decisions, they kept Plaintiff in the dark about their plans to terminate her
employment for nearly a year. Defendants, particularly Burck and Corey, actively misled Plaintiff
regatding her status at the law firm. In addition to Corey's July 2015 assurances that Shaffer's
_ statements (about his and Burck's decision that Plaintiff would not make partner at the firm) were
false and should be disregarded because Shaffer was a "baby partner," Burck also misled Plaintiff
about her status at the firm.

52. In August 2015, after removing Plaintiff from the case with Shaffer, Burck
dismissed Shaffer’s discriminatory and harassing conduct toward Plaintiff on the earlier case as “a
_ personality conflict” and assigned Plaintiffto two of his smaller matters. In Plaintiff's first meeting
with Burck about the new cases, Burck indicated that that he did not have lingering concerns about
Plaintiff's performance on the previous case and that the new matters were a fresh start.

53. However, it became apparent that the two August 2015 matters were not “fresh
start[s]” but instead were designed for failure as Burck attempted to concoct a justification for his
July and August 2015 decisions regarding Plaintiff's employment. For example, there was no role
for Plaintiff on either of the small 3-person teams, which were already staffed with attorneys at
Plaintiffs same or similar seniority level; further, Burck refused to define or provide a clear role

when Plaintiff asked.

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54. Moreover, unbeknownst to Plaintiff, Burck was actively undermining, demeaning,
and sabotaging Plaintiff's role on the new matters. For instance, within a week of staffing Plaintiff
to one of the cases (and before she had done any work on the matter), Burck repeatedly degraded
Plaintiff to the white male associate already assigned to the case, Benjamin O’Neil. Burck
repeatedly derided Plaintiff as an “idiot, confirmed” and “fucking...stupid” to O’Neil.
Unsurprisingly, O’Neil (the associate responsible for the Colombian “cocaine and guns” necktie
“ioke”) happily parroted Burck’s sentiments back to Burck and to others. insults which O’Neil
unsurprisingly parroted to others.

55. In addition to degrading Plaintiff behind her back, Burck and other Defendants also
actively enlisted Plaintifi’s colleagues on the new matters to harass Plaintiff and to interfere with
her work. For example, Burck literally told O’Neil to “fight” with Plaintiff to and “be a man” in
his interactions with Plaintiff. These comments empowered and emboldened O’Neil to be
extremely aggressive and abusive towards Plaintiff, as Plaintiff's November 28, 2017 letter also
described:

“Additionally, Burck specifically engendered hostility towards me and he and
others, created a hostile work environment by encouraging others (typically white,
male, and a member of Burck’s fraternity) to “fight” with me, including Ben O’Neil
(who was an associate at the relevant time). I complained to Burck in Oct. 2015
about O’Neil’s confrontational and harassing behavior; instead of addressing the
issues I raised, Burck emboldened O’Neil’s hostility by regularly and viciously
insulting me to O’Neil (e.g., Burck’s “idiot” emails). Even worse, Burck directed
O’Neil to “fight” with me and to “be a man” in his interactions with me, to which
O’Neil replied “gladly”.”

56.  Inaddition to exhibiting extreme hostility toward Plaintiff, O’Neil challenged every
suggestion Plaintiff made on case strategy, even to the client’s dissatisfaction (e.g., O’Neil

decrying Plaintiffs recommendation to attend certain key depositions as “fucking stupid,” while

the client later expressed disappointment that the team had not taken the approach Plaintiff

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suggested), and to the potential detriment of the client (¢.g., O’Neil’s insistence that the case team
blindly produce thousands of the client’s unreviewed documents to a governmental agency, at the
risk of greater criminal and civil exposure, over Plaintiff's repeated objections).

57. Unaware that Burck’s insults and mockery of Plaintiff—along with his directive
that O’Neil “fight” with Plaintiff—-were fueling O’Neil’s vitriolic behavior, Plaintiff met with
Burck in October 2015 to discuss her concerns about O’Neil’s hostile behavior towards her, which
diverged entirely from his interactions with the white junior associate on the matter. Burck told
Plaintiff not to worry about it, encouraged her to continue working collaboratively with O'Neil
and said that her work on the matters was “good” and that he was satisfied with her performance.
Burck also gave Plaintiff additional assignments on the matter with O’Neil, which Plaintiff -
reverted to him the next day.

58. But Despite Burck’s representations at the meeting, he phased her out of both
matters a few weeks later without explanation, much like he had done on the earlier case with
Shaffer. Upon information and belief, his removing her from the cases was in furtherance of
Defendants’ plan to suppress her hours in an attempt to justify their earlier plan to terminate

Plaintiff's employment.

DEFENDANTS’ CONTINUING EFFORTS TO CREATE POST HOC JUSTIFICATION
FOR JULY AND AUGUST 2015 ADVERSE EMPLOYMENT DECISIONS

59. In Defendant’s continuing efforts to find or manufacture a justification for their
July and August 2015 decisions to terminate Plaintiff's employment and deny her promotion
without consideration, Defendants not only undermined Piaintiff (as Burck had done on the new
August 2015 cases), but they also subjected Plaintiff to an unprecedented level of scrutiny and

went to great lengths to sabotage her billable hours.

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60. In particular, Defendants continuously sought out negative information about
Plaintiff and scrutinized her work more closely than others, even tasking other employees to surveil
Plaintiff's activities and report back. Upon information and belief, Burck in particular enlisted
employees including O’Neil and others to closely monitor Plaintiff's activities and to look for
negative information about her.

61. Likewise, Defendants themselves went out of the way to search for negative
feedback about Plaintiff, even after her work on the August 2015 cases ended. Burck and Shaffer
in particular would approach other partners to ask about cases Plaintiff was working on or had
previously worked on fishing for negative feedback, including matters from other offices in which
neither Burck nor Shaffer had any involvement.

62. These inquiries were made outside of the firm’s established annual performance
review process and general practices. In the typical performance review process, partners who
have worked with an associate in the current review year submit written reviews about their
experience. A designated partner distills those reviews into a review summary, which is provided
to the associate at his or her annual performance review meeting. Upon information and belief,
Quinn Emanuel has never subjected any white or male attorney at the law firm to such intense
scrutiny outside the established performance review process, in particular by a managing partner.

63. In particular, in Fall 2015, Burck unilaterally inserted himself into Plaintiff's work
relationships by independently identifying and approaching partners Plaintiff had previously
worked for in search of “proof” that would justify Defendants’ earlier 2015 decisions, all of which
occurred outside the firm’s performance review process. In March 2016, Burck subjected Plaintiff
to even greater scrutiny by demanding that she provide him the names of all partners she had

previously done work for so that he could conduct another ad hoc review of Plaintiffs

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performance, Even though the law firm’s performance review process for the 2015 year had
already concluded, Burck went out of his way to approach other partners (some of whom Plaintiff
had not worked with in 3 years) in search of any negative information he could find about Plaintiff.

64. Quinn Emanuel’s heightened and intense scrutiny, including Burck’s insistence on
personally talking to partners with whom Plaintiff had worked was not only an effort to justify
Defendants’ August 2015 decision to terminate Plaintiff's employment, but also disparate
treatment. As Plaintiff explained her November 28, 2017 letter to the EEOC, Quinn Emanuel’s
conduct towards Plaintiff appeared to be racially motivated, as no other white or male attorneys at

the firm were subjected to this level of scrutiny or deprived of the benefits of the law firm’s written
policies:

“With respect to Quinn Emanuel’s “low hours” excuse, substantial evidence shows that
many other similarly situated white and male associates with low hours were provided their
reviews, helped to find billable work, and were not terminated despite low hours.
Additionally, there is clear evidence that Burck and others intentionally depressed my
billable hours and undermined my efforts to get or retain billable work. For instance, Burck
and others needlessly gossiped to partners and associates about supposed deficiencies with
my work, while withholding this information from me (refusing to provide a formal review
for the 2015 year, in complete disregard for the established associate review process and
procedures in my case). Similarly, Burck and others broadcasted the Aug. 2015 decision
to terminate me to several partners and associates in September and October 2015—before
Burck had even notified me of the (a) the purported problems (Oct. 2015); or (b) the Firm’s
plan to terminate (May 2016).”

“In further contravention of Quinn Emanuel’s established processes for associate review
and partnership deferral procedures, Quinn Emanuel and Burck subjected me to
substantially greater scrutiny than my white and male colleagues and decided to terminate
my employment outside of the firmwide established review and partnership deferral
process. Burck in particular went out of his way to discredit me among partners and my
peers, inside and outside the DC office. Evidence shows that Burck intentionally and
repeatedly sought out negative information about me to bolster Quinn Emanuel’s Aug.
2015 decision to terminate. Burck began fishing for examples and proof of my alleged
deficiencies as early as Sept. 2015, and his emails doing the same in March 2016 primed
the recipients to provide negative feedback through misleading information (e.g., claiming
that the office was “evaluating” me due to my “seniority” and that I allegedly identified
the recipients as partners I worked with “extensively”, although I specifically told Burck
that I had only limited exposure to those partners). The peculiar circumstances of Burck’s

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inquiries signaled that Burck and/or the DC office were planning to terminate me, i.e., a
comanaging partner randomly contacting other partners in other offices and outside the
review period and established process (in which Human Resources collects such feedback),
about one associate in particular, and regarding work dating back 3 years and outside the
scope of the 2015 review year) is an obvious red flag.”

65. Additionally, Quinn Emanuel and Burck affirmatively thwarted Plaintiff's efforts
to obtain other billable work by suggesting to multiple partners that they should not work with
Plaintiff and that Quinn Emanuel planned to terminate her employment. Announcing the firm’s
plan to terminate Plaintiff to others (while hiding this information from Plaintiff herself) dissuaded
other partners from working with Plaintiff and cause Plaintiff's billable hours to fall even lower.

66. Upon information and belief, in late 2015 and 2016, Defendants Burck and Shaffer
affirmatively prevented Plaintiff's participation in at least 3 billable matters Plaintiff had been
invited to join or was already working on. The assignments were rescinded suddenly at the urging
of Burck and Shafter.

67. On more than four occasions in 2016, Plaintiff went to Corey to express her grave
concerns about Burck’s intense scrutiny and her rapidly declining billable hours, as she searched
for additional billable work. In April and May 2016, Plaintiff specifically talked to Corey-—the
designated EEO contact person for harassment issues in the D.C. office—about Burck and
Shaffer's potential involvement in the sharp decline in her billable hours. In particular, Plaintiff
noted their disparate treatment of her as compared to her white and male colleagues, that their
targeted scrutiny of her work was outside the review cycle, that Burck and O’Neil had frequently
insulted and made demeaning comments about Plaintiff, and that Burck and Shaffer’s conduct was
interfering with Plaintiff's ability to obtain or retain other billable work.

68. In response to Plaintiff's April 2016 and May 2016 complaints regarding Burck’s

interference with her work, Corey purported to set up a meeting with Plaintiff on May 4, 2016 to

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discuss her concerns, When Plaintiff showed up to the meeting, she provided Corey with a 7-page
memorandum about these issues, and sat down to discuss possible solutions with him. To her
surprise, Corey immediately ambushed Plaintiff by telling her for the first time that Burck (who
was supposed to the subject of the meeting) would also be attending the May 4 meeting.

69. Rather than discussing the discriminatory and unlawful conduct Plaintiff
complained about, when Burck arrived a few moments later, Corey and Burck abruptly informed
Plaintiff that she “would not make partner” and should “move on” [from Quinn Emanuel].
Shocked, Plaintiff asked repeatedly why she would not be considered for partnership—~as agreed
in April 2015; why the firm reached that decision after her glowing performance review; and why
the firm was denying Plaintiff the opportunity to stay longer (an option they have commonly
extended to white and male attorneys in the D.C. office to develop their practice before the firm’s
partnership consideration), among other things. Corey and Burck refused to answer any of
Plaintiff's questions.

70. Likewise, neither Corey nor Burck would provide Plaintiff with any part of her
performance review that year, despite Plaintiff asking for the information 3 times. Burck refused
to answer, and Corey declined, claiming that he did not want to “burden” her with the current
year’s review. Neither Corey nor Burck provided an end-date for Plaintiff's employment or any
other specifics; at the end of the meeting, Corey said he would consider the issues outlined in her
May 4, 2016 memorandum and let her know the firm’s final position.

71. Plaintiff followed up with Corey several times in May 2016 to clarify his May 4
message about her “moving on” and the status of her father-in-law’s case with the law firm,
including providing him with specific examples of Burck, Shaffer, and O’Neil discriminatory and

offensive conduct about her and other female attorneys (including Burck’s denigration of Plaintiff

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by referring to her as an “idiot” prior to her performing any work on the August 2015 cases he had
just staffed her on and his vulgar discussion of other female attorneys’ bodies, see {| 4).

72. But rather than investigate Plaintiffs reports of discriminatory treatment, Quinn
Emanuel ignored Plaintiff's complaints and did nothing to investigate. In fact, Corey refused to
discuss any of these issues with Plaintiff until Mr. Nwaneri, Senior made another payment for legal
services (although he had been making monthly payments ranging from $5,000 to $9,000 since
the beginning of the year).

73. Only after Plaintiff's father-in-law rendered an additional payment of $5,500 at the
beginning of June, Corey finally agreed to meet with Plaintiff on June 6, 2016. At that meeting,
Corey informed Plaintiff that the law firm’s decision to terminate her employment was final and
that her last day would be July 2, 2016 (which was only three weeks away). Plaintiff asked why
Quinn Emanuel was giving her such short notice of her end date and told Corey that it seemed
Quinn Emanuel was accelerating the timeline of her departure due to her most recent complaints
regarding Burck. Corey refused to answer any of her questions, and declined again to provide
Plaintiff with any part of her performance review for that year, despite her asking again at the June
6 meeting.

74, Although Corey told her that her last day at the firm would be July 2, 2016, Quinn
Emanuel sent its last paycheck in June 2016, and never paid Plaintiff for any days in July, nor did
Quinn Emanuel compensate Plaintiff for the more than four weeks of paid vacation time she had
earned and accrued that year.

RETALIATORY WITHDRAWAL FROM FATHER-IN-LAW’S CASE
75. Tn further retaliation for Plaintiff's protected complaints about discrimination, on

July 12, 2016, Quinn Emanuel suddenly cancelled its representation agreement with Plaintiff's

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father-in-law—less than 2 weeks after Plaintiff's departure from the firm, 1 month after Corey
demanded and received another payment of $5,500 before meeting with Plaintiffin June, and days
after receiving Plaintiff's final internal complaint about the discrimination and retaliation issues
she had previously raised with firm management (by letter of June 30, 2016 through her
employment counsel). The timing of Defendants’ sudden cancellation of its representation
agreement and its purported reasons for doing to suggested the move was yet another retaliation
against Plaintiff for her complaints about Defendants’ discriminatory conduct and wrongful
termination.

76. Plaintiff introduced Mr. Nwaneri, Senior, a 70-year-old to the law firm, and Corey
specifically, in 2014 when he was seeking representation in a small banking and property matter.
He retained the firm to represent him as the plaintiff in a small banking and property matter. Corey
was the partner responsible for the matter and the named signatory on the representation
agreement. He regularly made monthly payments between $5,000 to $9,000 (and had already paid
Defendants $25,000 in fees in 2016, including a payment of $5,500 in early June 2016). Just a
few weeks after his June 2016 payment, and 10 days after receiving Plaintiff's June 30 complaint,
Quinn Emanuel suddenly decided to withdraw as his counsel, and claimed their decision was based
on a fabricated—and now admittedly wrong—outstanding bill for a nominal amount of disputed
fees,

77. Quinn Emanuel claimed its July 2016 withdrawal was due to outstanding legal bills,
but the billing dispute was clearly pretextual and based on a falsified bill for a nominal amount of
money, which Defendants had grossly inflated in breach of the clear terms of Mr. Nwaneri’s
retainer agreement. Corey, who was the partner responsible for Mr. Nwaneri’s case and the named

signatory on Quinn Emanuel’s retention agreement, sent the firm’s first and only notice to Mr.

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Nwaneri about the alleged billing issue on July 12, only a few days Defendants received Plaintiff s
June 30 letter, and refused to send Mr. Nwaneri the underlying bill until July 18-—a week after
Defendant first informed Mr. Nwaneri of the fabricated billing issue, and days after Corey filed a
motion to withdraw with the court where Mr. Nwaneri’s matter was pending.

78. Mr. Nwaneri notified Corey immediately that the “outstanding” amount was recent
and grossly exaggerated (because Defendants had not applied a contractually obligated 33%
discount). Even more, Quinn Emanuel—a global law firm with approximately $2 Billion gross
annual revenues--had dropped him as a client over a mere $30,000 (that was falsely inflated due
to their accounting errors), Despite Corey’s role as the relationship partner for the matter
throughout the time Mr. Nwaneri, Senior was a client at the firm, he became callous and
antagonistic towards Mr. Nwaneri in their brief communications about Defendants’ sudden
cancellation of the representation agreement.

79, First, Corey delayed sending the outstanding amount or the underlying billing
document to Mr. Nwaneri for a week, and only emailed the paperwork after the law firm had filed
its motion to withdraw. When Mr. Nwaneri asked Corey to correct the obvious accounting error
that resulted in $10,000 in extra fees, Corey denied the bills were wrong, refused to correct the
obvious error, and cut off communication with Mr. Nwaneri the day after he finally sent the billing
information. As Corey’s July 20, 2016 email said: “I will not continue to engage with you”. Mr.
Nwaneri reached out to Corey and Quinn Emanuel several other times to offer payment on the
corrected balance (as he had done on a monthly basis for the entire year), Defendants repeatedly
refused to accept any payment from him (even refusing to accept any payment at the September

2016 hearing on the motion to withdraw).

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80. Quinn Emanuel’s actions were so egregious that Mr. Nwaneri, Senior, was forced
to file bar complaints against the D.C. attorneys involved in the law firm’s improper withdrawal——
including Defendant Corey, who was the partner responsible for Mr. Nwaneri, Senior’s
representation. The bar complaints resulted in a lengthy investigation during which Quinn
Emanuel finally acknowledged the billing errors and fabricated balance that Defendants had relied
as the alleged basis for their decision (which it first announced days after receiving Plaintiff's June
2016 complaint) to cancel the law firm’s representation agreement months earlier.

81. Beyond deciding to cancel Mr. Nwaneri, Senior’s representation agreement under
the pretext of a falsified outstanding balance, Defendants also retaliated against and otherwise
harmed Plaintiff by: (a) making various defamatory misrepresentations about Plaintiff and Mr.
Nwaneri, Senior to the state court where his civil case was pending in Defendants’ efforts to
withdraw as his counsel; (b) violating attorney-client privilege by publicly disclosing Mr. Nwaneri,
Senior’s confidential retainer agreement with the law firm to the public by not only filing an
unredacted copy of it but also by sending the full agreement directly to Mr. Nwaneri, Senior’s
adversaries (inchading the defendant and another company named in the agreement as a potential
litigation target); and (c) preventing Mr. Nwaneri, Senior from curing the alleged default, such as
refusing to accept any payment towards the falsified outstanding balance (including Quinn
Emanuel’s refusal on the record at the September 2016 hearing to accept any payment or to
continue representation under any circumstances).

82. Beyond deciding to cancel Mr. Nwaneri, Senior’s representation agreement under
the pretext of a falsified outstanding balance, Defendants also retaliated against and otherwise
harmed Plaintiff by: (a) making various defamatory misrepresentations about Plaintiff and Mr.

Nwaneri, Senior to the state court where his civil case was pending in Defendants’ efforts to

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withdraw as his counsel: (b) violating attorney-client privilege by publicly disclosing Mr. Nwaneri,
Senior’s confidential retainer agreement with the law firm to the public by not only filing an
unredacted copy of it but also by sending the full agreement directly to Mr. Nwaneri, Senior’s
adversaries (including the defendant and another company named in the agreement as a potential
litigation target); and (c) preventing Mr. Nwaneri, Senior from curing the alleged default, such as
refusing to accept any payment towards the falsified outstanding balance (including Quinn
Emanuel’s refusal on the record at the September 2016 hearing to accept any payment or to

continue representation under any circumstances).

RETALIATORY ARBITRATION

83. Quinn Emanuel’s pattern of ‘eviliadon against Plaintiff and her close family
members escalated further in 2017, immediately after Plaintiff filed a charge of discrimination and
retaliation against Defendant (which named the D.C. partners involved in the firm’s discrimination
and retaliation, including Defendants Burck, Shaffer, and Corey). Specifically, after Plaintiff filed
her discrimination and retaliation charge against Quinn Emanuel on February 27, 2017, Quinn
Emanuel—led by Corey—retaliated immediately by preparing to sue Plaintiffs father-in-law just
3 days after receiving their copy of the charge document, according to the billing records of the
arbitration.

84. Quinn Emanuel filed its arbitration lawsuit against Mr. Nwaneri, Senior on March
22, 2017, less than 3 weeks after receiving Plaintiff's discrimination charge. Even though Quinn
Emanuel had used the falsified outstanding balance to drop Mr. Nwaneri as a client in 2016 and
refused to correct or accept any payment towards the correct balance, their 2017 arbitration lawsuit

was a complete reversal.

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85. Although Quinn Emanuel is a behemoth law firm with gross annual revenues of
approximately $2 billion annually (and $1.6 billion in 2016, according to AmLaw), Defendants’
lawsuit against Plaintiffs father-in-law sought only $20,000, and Defendant deployed a team of
approximately 10 attorneys to extract payment from its former client. Throughout the arbitration
lawsuit and related proceedings, Quinn Emanuel has also demanded an additional $500,000 in fees
(for the purported work the law firm’s employees expended in Defendant's collection of the
$20,000 disputed fee).

86. Defendants also used their retaliatory lawsuit against Plaintiff's father-in-law to
harass Plaintiff directly. Although Plaintiff had departed the firm 8 months before Defendants
filed the arbitration lawsuit and her discrimination charge against Defendants was still under
investigation by the EEOC and related state agency, Defendants insisted that discovery from
Plaintiff was necessary and demanded that she make herself available for a third-party deposition.
It is unheard of for associates to testify in law firm billing disputes—particularly when the law
firms are in full possession of all the information necessary to substantiate their claims for fees.
To the extent that any such testimony or discovery was necessary, other associates who worked on
the matter (and Corey, the engagement partner) were still employed by Defendant at the time and
could easily have provided any necessary testimony.

87. Despite strenuous objections by Plaintiff and Mr. Nwaneri, Senior, Defendants
went out of their way to force Plaintiff to testify against her father-in-law while refusing to pay
any of the costs associated with third-party deposition (including the statutorily required $40
witness fee) or provide a place for the deposition they demanded. Nor was Quinn Emanuel willing

to be accommodating of Plaintiffs schedule or family responsibilities despite knowing she had

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given birth to her second child in May 2017 and was the primary caregiver for a newborn and a

toddier.

88 Plaintiff detailed the retaliatory nature of the arbitration lawsuit against Plaintiffs

father-in-law in her November 28, 2017 letter to the EEOC:

Retaliatory Arbitration, Investigation, and Subpoena
“Also during our Oct. 13 call, I mentioned that Quinn Emanuel has engaged in several
retaliatory acts against me and my family since my complaints of discrimination and
harassment, including suing my father-in-law (the firm’s former client) in a frivolous
billing dispute just 3-weeks after my Feb. 27 charge was filed. As mentioned, I was
particularly concerned that Quinn Emanuel’s suit (filed on March 22, 2017) was
retaliation in response to my filing the EEOC charge (which I raised with the EEOC
mediator on June 29, before the matter was assigned to you for investigation), and was
particularly alarmed by Quinn Emanuel’s September 2017 efforts to compel my
deposition testimony as a non-party, which were invasive, harassing, and intended to
circumvent the EEOC process, among other things.

You asked me why I did not want to be deposed, and I explained again that I was not a
party, my testimony was not needed, and that Quinn Emanuel was using the binding
arbitration and the nonparty subpoena demand to harass me and my family, as evidenced
by, among other things: Quinn Emanuel’s refusal to pay any of the necessary expenses
(e.g., the cost of an attorney to defend the nonparty deposition Quinn Emanuel demanded)
or to reimburse me for childcare (despite knowing that I was the primary caregiver to a
newborn and toddler, as became aware during his attendance at the June 29 EEOC
mediation). Indeed, Quinn Emanuel did not even pay the $40 witness fee despite it being
statutorily required.

In addition, Quinn Emanuel has used the arbitration as a guise for conducting a retaliatory
investigation, including invasive and harassing tactics such as Quinn Emanuel’s admitted
use of investigators and private security firms to stalk and surveil me and my close family,
at home (including an address Quinn Emanuel obtained from my EEOC Charge Sheet),

 

2 “As | explained during our Oct. 13 call, Quinn Emanuel had relentlessly and
needlessly demanded that I—a former employee who had just filed an EEOC
charge against them—appear as their witness against my father-in-law, even though
the purported dispute arose after my termination, my testimony was unnecessary for
their claim, and the small amount at issue and other circumstances revealed
retaliatory animus (e.g., Quinn Emanuel grossed almost $2 Billion last year and was
suing for approximately $20,000, based on bills it refused to correct in 2016 and
never sent to my father-in-law until 2 months into the arbitration).”

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school, and work, as well as various other attempts to intimidate, embarrass, and harass
me, among other disruptive, invasive, and (on information and belief) illegal tactics”
Even worse, Quinn Emanuel’s harassment was entirely intended to harass me, as the law
firm decided at the last minute that my testimony was not necessary (an about face to
their earlier claims when securing the subpoena and responding to my father-in-law’s
suggestions); after harassing me and my family—including relentlessly pursuing me
through investigators, employees, and other agents for months—Quinn Emanuel dropped
me as a witness without so much as informing me. I note that their intimidating
investigative and surveillance tactics continue, forcing me to involve law enforcement.”

89. To add insult to injury, Defendant’s retaliatory and harassing arbitration for
$20,000 (that they refused to acknowledge or accept payment for in 2016) has now turned into
Quinn Emanuel’s demand for $500,000 in self-paid “attorney’s fees” for the work of Quinn

Emanuel attorneys in pursuit of $20,000 from an elderly former client.
V. COUNTS

COUNT 1: VIOLATION OF 42 U.S.C. § 1981 (“Section 19881”)
RACE DISCRIMINATION
(AGAINST DEFENDANT QUINN EMANUEL)
90. Plaintiff realleges and incorporates each and every allegation in this Complaint and

discrimination charge.

 

“Among other attempts to intimidate and embarrass me, Quinn Emanuel and its
agents physically and publicly served their legally deficient subpoena on me over
and over—including two times publicly, long after I had already accepted service
via email. All of the subpoenas served were legally deficient, and Quinn Emanuel
was hostile and malicious with their incessant demands, i.e., badgering me
repeatedly me about their non-reimbursed, unnecessary nonparty deposition,
particularly on important family dates that were stated clearly in my EEOC charge,
including Sept. 19 (my first daughter’s birthday), when Quinn Emanuel first
notified me of their alleged need for my testimony by serving me its legally
deficient nonparty subpoena, demanding I submit for the unnecessary deposition
within 10 days” time, and relentlessly pursuing Oct. 2 (the anniversary of my
mother’s death) as a deposition date, including taunting and mocking me for not
having an attorney to represent me at their deposition (which attorney Quinn
Emanuel outright refused to pay for).”

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91.  Inviolation of Section 1981, Defendant intentionally discriminated against Plaintiff
on the basis of her race by subjecting her to disparate treatment in the terms and conditions of her
employment, including compensating her less, refusing to apply Defendant’s policies and
procedures equally to Plaintiff, subjecting her to heightened scrutiny, demoting and denying
Plaintiff promotional and development opportunities, suppressing Plaintiff's billable hours, and
other adverse employment actions.

92. Defendant’s unlawful adverse actions, as alleged in this Complaint, were the direct,
proximate and pretextual results of race discrimination.

93. Asaresult of Quinn Emanuel’s conduct alleged in this Complaint, Plaintiff suffered
and continues to suffer, monetary damages and non-monetary damages, including but not limited
to, the loss of income, lost benefits, other financial loss, as well as emotional distress, reputational

damages, humiliation, physical distress, and mental anguish.

94, As a result of Quinn Emanuel’s unlawful conduct, Plaintiff is entitled to
compensatory damages, including, but not limited to, lost wages; damages for emotional distress;
punitive damages; pre- and post-judgement interest; attorneys’ fees and costs; and such other legal
and equitable relief as just and proper.

95. Quinn Emanuel’s intentional discrimination and disparate treatment of Plaintiff
was willful and malicious, intended to injure Plaintiff, and was done with reckless indifference to

Plaintiff's civil rights, therefore entitling Plaintiff to an award of punitive damages.

COUNT 2: VIOLATION OF 42 U.S.C. § 1981
WRONGFUL TERMINATION
(AGAINST DEFENDANT QUINN EMANUEL)

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96. Plaintiff realleges and incorporates each and every allegation in this Complaint and
discrimination charge.

97. In violation of Section 1981, Defendant intentionally discriminated against Plaintiff
on the basis of her race by wrongfully terminating Plaintiffs employment.

98. Plaintiff's wrongful termination was a direct, proximate and pretextual result of
race discrimination.

99. Asaresult of Quinn Emanuel’s conduct, Plaintiff suffered and continues to suffer,
monetary damages and non-monetary damages, including but not limited to, the loss of income,
lost benefits, other financial loss, as well as emotional distress, reputational damages, humiliation,
physical distress, and mental anguish; and such other legal and equitable relief as just and proper.

100. Quinn Emanuel’s unlawful termination of Plaintiff's employment was willful and
malicious, intended to injure Plaintiff, and was done with reckless indifference to Plaintiff's civil

rights, therefore entitling Plaintiff to an award of punitive damages.

COUNT 3: VIOLATION OF 42 U.S.C. § 1981
HOSTILE WORK ENVIRONMENT AND HARASSMENT
(AGAINST DEFENDANT QUINN EMANUEL)
101. Plaintiff realleges and incorporates each and every allegation in this Complaint and
discrimination charge.
102. Inviolation of Section 1981, Defendant intentionally discriminated against Plaintiff
on the basis of her race by subjecting Plaintiff to a racially hostile work environment and

harassment that was severe or pervasive enough to alter the terms and conditions of her

employment.

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103. Defendant Quinn Emanuel is strictly liable for this violation because, as alleged in
this Complaint: Defendant had actual and constructive knowledge of the extensive supervisory
harassment and hostility Plaintiff was subjected to by her supervisors, including Burck and
Shaffer; a reasonable person would find their conduct and the resulting environment to be hostile
and abusive; and Defendants’ harassment resulted in several adverse employment actions against
Plaintiff, including undesirable reassignments, significant reductions in her responsibilities, the
suppression of her billable hours, and culminated in Plaintiff's termination.

104. As a direct and proximate cause of Quinn Emanuel’s actions, Plaintiff suffered
injury and monetary damages, including, but not limited to, past and future loss of income,
benefits, promotion, promotional opportunities, mental anguish, humiliation, expenses and costs.

105. Asaresult of Defendant’s unlawful conduct, Plaintiff is entitled to compensatory
damages, including, but not limited to, lost wages, damages for emotional distress, punitive
damages; pre- and post-judgment interest; attorneys’ fees and costs; and such other legal and

equitable relief as just and proper.

COUNT 4: VIOLATION OF 42 U.S.C, § 1981
RETALIATION
(AGAINST DEFENDANT QUINN EMANUEL)
106. Plaintiff realleges and incorporates each and every allegation in this Complaint and
discrimination charge.
107. In violation of Section 1981, Defendant Quinn Emanuel intentionally retaliated and

discriminated against Plaintiff for engaging in the protected activity of opposing and reporting

incidents of race discrimination.

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108. Defendant’s retaliatory and discriminatory acts against Plaintiff included, but were
not limited to, denying promotional opportunities to Plaintiff, increased scrutiny, and wrongful
termination.

109. Defendant’s retaliatory conduct towards Plaintiff and her close family members
included, but were not limited to, subjecting them to several tangible adverse actions, including,
but not limited to, cancelling its representation agreement with Plaintiff's father-in-law, Mr.
Nwaneri, Senior, under the pretense of falsified bills and refusing to correct or accept any payment
toward the corrected bills, filing a retaliatory arbitration against Plaintiff's father-in-law for a
nominal amount of money immediately after Plaintiff filed her February 2017 discrimination
charge alleging Defendant’s violation of Section 1981 and other anti-discrimination laws, and
Defendant’s abuse of its arbitration lawsuit to harass, extort, humiliate, and intimidate Plaintiff
and Mr. Nwaneri, Senior.

110. Defendant’s unlawful retaliatory acts are likely to dissuade an employee from
engaging in protected activity.

111. As a direct and proximate result of Defendant’s unlawful retaliatory conduct in
violation of Section 1981, Plaintiff has suffered and continues to suffer monetary and/or economic
damages, including, but not limited to, loss of past and future income, compensation and benefits
for which she is entitled to an award of monetary damages and other relief.

112. Asa direct and proximate result of Defendant’s unlawful retaliatory conduct in
violation of Section 1981, Plaintiff has suffered and continues to suffer severe mental anguish and
emotional distress, including, but not limited to, humiliation, embarrassment, stress and anxiety,
loss of self-esteem and self-confidence, and emotional pain and suffering for which she is entitled

to an award of monetary damages and other relief.

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113. Defendant’s unlawful retaliatory conduct constitutes a willful and wanton violation
of Section 1981, was outrageous, malicious, was intended to injure Plaintiff, and was done with

conscious disregard of Plaintiff's civil rights, entitling Plaintiff to an award of punitive damages.

COUNT 5: VIOLATION OF 42 U.S.C, § 1981
RACE DISCRIMINATION

(AGAINST INDIVIDUAL DEFENDANTS BURCK, COREY, AND SHAFFER)

114, Plaintiff realleges and incorporates each and every allegation in this Complaint and
discrimination charge.

115. Defendants Burck, Corey, and Shaffer intentionally discriminated against Plaintiff
in violation of Section 1981 by subjecting her to disparate treatment on the basis of her race in the
terms and conditions of her employment, including, but not limited to, refusing to apply
Defendant’s policies and procedures equally to Plaintiff, subjecting her to heightened scrutiny,
demoting and denying her promotional and developmental opportunities, suppressing Plaintiff’ s
billable hours, and other adverse employment actions.

116. Asa result of these Defendants’ conduct as alleged in this Complaint, Plaintiff

suffered and continues to suffer harm and substantial monetary damages, including, but not limited

to, lost earnings, lost benefits, other financial loss.

117. Asa direct and proximate result of Defendants’ unlawful conduct, Plaintiff has
suffered, and continues to suffer, substantial non-monetary damages, including, but not limited to,
emotional distress, physical pain and suffering, reputational damage, lasting embarrassment, and

humiliation.

118. Defendants’ unlawful conduct was outrageous and malicious, was intended to

injure, and was done with reckless indifference to Plaintiff's statutorily-protected civil rights. As

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a result, of Defendants’ unlawful conduct, Plaintiff is entitled to lost wages, damages for emotional
distress; punitive damages; pre- and post-judgment interest; and such other legal and equitable

relief as just and proper.

COUNT 6: VIOLATION OF 42 U.S.C. § 1981
WRONGFUL TERMINATION

(AGAINST INDIVIDUAL DEFENDANTS BURCK, COREY, AND SHAFFER)

119. Plaintiff realleges and incorporates each and every allegation in this Complaint and
discrimination charge.

120. In violation of Section 1981, Defendants Burck, Corey, and Shaffer intentionally
discriminated against Plaintiff on the basis of her race by wrongfully terminating Plaintiff's
employment.

121. Plaintiff's wrongful termination was a direct, proximate and pretextual result of
race discrimination.

122. As aresult of Defendants’ conduct as alleged in this Complaint, Plaintiff suffered
and continues to suffer, monetary damages and non-monetary damages, including but not limited
to, the loss of income, lost benefits, other financial loss, as well as emotional distress, reputational
damages, humiliation, physical distress, and mental anguish; and such other legal and equitable
relief as just and proper. |

123. Defendants’ unlawful termination of Plaintiff's employment constitutes a willful
and wanton violation of Plaintiffs rights as protected under Section 1981 and was done with

reckless indifference to those rights, entitling Plaintiff to an award of punitive damages.

COUNT 7: VIOLATION OF 42 U.S.C. § 1981

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HOSTILE WORK ENVIRONMENT AND HARASSMENT

(AGAINST INDIVIDUAL DEFENDANTS BURCK, COREY, AND SHAFFER)

124. Plaintiff realleges and incorporates each and every allegation in this Complaint and
discrimination charge.

125. In violation of Section 1981, Defendants Burck, Corey, and Shaffer intentionally
discriminated against Plaintiff on the basis of her race by subjecting Plaintiff to a racially hostile
work environment and harassment that was severe or pervasive enough to alter the terms and
conditions of her employment, including, but not limited to, frequent verbal abuse, increasingly
aggressive confrontations, initiating and perpetuating malicious gossip and mockery of Plaintiff,
subjecting Plaintiff to heightened scrutiny and surveillance, and enlisting other employees and
agents to subject Plaintiff to harassment and surveillance.

126. Defendant’s unlawful conduct toward Plaintiff was unwelcome and created an
environment so hostile that a reasonable person would find it abusive.

127. Defendants’ misconduct was intended to infringe on Plaintiffs civil rights as
protected under Section 1981 and therefore subjects them to individual liability. Defendants’
harassment of Plaintiff resulted in various adverse employment actions, including, but not limited
to, interference with Plaintiff's work performance, undesirable reassignments and significant
reductions in her responsibilities, the suppression of Plaintiff's billable hours, and Plaintiff's
wrongful termination.

128. Asa direct and proximate cause of Defendants’ actions, Plaintiff suffered injury
and monetary damages, including, but not limited to, past and future loss of income, benefits,

promotion, promotional opportunities, mental anguish, humiliation, expenses and costs.

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129. As aresult of Defendant’s unlawful conduct, Plaintiff is entitled to compensatory
damages, including, but not limited to, lost wages, damages for emotional distress, punitive
damages; pre- and post-judgment interest; attorneys’ fees and costs; and such other legal and

equitable relief as just and proper.

COUNT 8: VIOLATION OF 42 U.S.C, § 1981
RETALIATION

(AGAINST INDIVIDUAL DEFENDANTS BURCK, COREY, AND SHAFFER)

130. Plaintiff realleges and incorporates each and every allegation in this Complaint and
discrimination charge.

131. In violation of Section 1981, Defendants Burck, Corey, and Shaffer intentionally
and relentlessly retaliated against Plaintiff for her protected opposition to and complaints of
unlawful discrimination and retaliation.

132. Defendants’ unlawful retaliation includes, but is not limited to, deciding in July
2015 to deny partnership or promotion consideration to Plaintiff without cause and in
contravention of the law firm’s policies, deciding in August 2015 to wrongfully terminate
Plaintiff's employment without justification, and making extensive post hoc efforts to find or
otherwise manufacture a justification for Defendants’ July and August 2015 decisions by
subjecting Plaintiff to heightened and unprecedented scrutiny, along with affirmative acts intended
to suppress Plaintiffs billable hours.

133. In addition, Defendants also retaliated against Plaintiff and her close family
members includes, but is not limited to, Quinn Emanuel’s retaliatory cancellation of its
representation agreement with Plaintiff's father-in-law, Mr. Nwaneri, Senior in July 2016 (based

on falsely inflated bills and a few days after Plaintiffs June 30, 2016 complaint regarding

misconduct by Defendants and others), Quinn Emanuel’s retaliatory arbitration lawsuit in March

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2017 (which Defendants initiated 3 days after Defendants’ receipt of Plaintiffs February 27, 2017
employment discrimination charge) against Mr. Nwaneri, Senior, and Defendants’ use of the
arbitration lawsuit to intimidate, extort, and humiliate Plaintiff and Mr. Nwaneri Senior.

134. Defendants’ unlawful retaliatory conduct is likely to dissuade an employee from
engaging in protected activity.

135. Defendants’ misconduct was intended to infringe on Plaintiffs civil rights as
protected under Section 1981 and therefore subjects them to individual liability. Defendants’
harassment of Plaintiff resulted in various adverse employment actions, including, but not limited
io, interference with Plaintiff's work performance, undesirable reassignments and significant
reductions in her responsibilities, the suppression of Plaintiff's billable hours, and Plaintiff’ s
wrongful termination.

136. Asadirect and proximate result of Defendants’ violations of Section 1981, Plaintiff
has suffered and continues to suffer monetary damages, including, but not limited to, loss of past
and future income, compensation and benefits.

137. Asa direct and proximate result of Defendants’ unlawful retaliatory conduct in
violation of Section 1981, Plaintiff has suffered and continues to suffer severe mental anguish and
emotional distress, including, but not limited to, humiliation, embarrassment, stress and anxiety,
loss of self-esteem and self-confidence, and emotional pain and suffering for which she is entitled
to an award of monetary damages and other relief.

138. Defendants’ unlawful retaliatory acts constitute willful and wanton violations of
Section 1981, and were outrageous, malicious, intended to injure Plaintiff, and done with

conscious disregard of Plaintiff's civil rights, entitling Plaintiff to an award of punitive damages.

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COUNT 9: VIOLATION OF 42 U.S.C. § 1985(3) (“Section 1985(3)”)
CONSPIRACY TO INTERFERE WITH CIVIL RIGHTS: SEX DISCRIMINATION
(AGAINST DEFENDANTS QUINN EMANUEL, BURCK, SHAFFER, AND COREY)

139. Plaintiff realleges and incorporates each and every allegation in this Complaint and
discrimination charge.

140. In violation of Section 1985(3), Defendants Quinn Emanuel, Burck, Corey, and
Shaffer conspired, directly or indirectly, for the purpose of depriving Plaintiff of her right to Equal
Protection of the law and to be free from intentional discrimination and retaliation on the basis of
her sex.

141. Defendants reached an agreement to wrongfully terminate Plaintiff’s employment
and deny her any opportunity for promotion without cause, to manufacture reasons post hoc to
retroactively justify their earlier adverse employment decisions.

142. In so doing, Defendants took actions in furtherance of this conspiracy, including
intentionally suppressing Plaintiff's billable hours and subjecting Plaintiff to heightened scrutiny,
and other wrongful conduct, causing injury to Plaintiff.

143. Defendants’ misconduct was undertaken with malice, willfulness, and reckless
indifference to Plaintiff's rights.

144, As a direct and proximate result of Defendants’ violations of Section 1985(3),
Plaintiff has suffered and continues to suffer monetary damages, including, but not limited to, loss
of past and future income, compensation and benefits.

145. Asa direct and proximate result of Defendants’ unlawful retaliatory conduct in
violation of Section 1985(3), Plaintiff has suffered and continues to suffer severe mental anguish

and emotional distress, including, but not limited to, humiliation, embarrassment, stress and

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anxiety, loss of self-esteem and self-confidence, and emotional pain and suffering for which she is
entitled to an award of monetary damages and other relief.

146. Defendants’ unlawful acts constitute willful and wanton violations of Section
1985(3), and were outrageous, malicious, intended to injure Plaintiff, and done with conscious

disregard of Plaintiff's civil rights, entitling Plaintiff to an award of punitive damages.

COUNT 10: VIOLATION OF 42 U.S.C. § 1985(3)
CONSPIRACY TO INTERFERE WITH CIVIL RIGHTS: RACE DISCRIMINATION
(AGAINST DEFENDANTS QUINN EMANUEL, BURCK, SHAFFER, AND COREY)

147. Plaintiff realleges and incorporates each and every allegation in this Complaint and
discrimination charge.

148. In violation of Section 1985(3), Defendants Quinn Emanuel, Burck, Corey, and
Shaffer conspired, directly or indirectly, for the purpose of depriving Plaintiff of her right to Equal
Protection of the law and to be free from intentional discrimination and retaliation on the basis of
her race.

149. Defendants reached an agreement to wrongfully terminate Plaintiff's employment
and deny her any opportunity for promotion without cause, to manufacture reasons post hoc to
retroactively justify their earlier adverse employment decisions.

150. In so doing, Defendants took actions in furtherance of this conspiracy, including
intentionally suppressing Plaintiff's billable hours and subjecting Plaintiff to heightened scrutiny,
and other wrongful conduct, causing injury to Plaintiff. |

151. Defendants’ misconduct was undertaken with malice, willfulness, and reckless

indifference to Plaintiff's rights.

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152. As a direct and proximate result of Defendants’ violations of Section 1985(3),
Plaintiff has suffered and continues to suffer monetary damages, including, but not limited to, loss
of past and future income, compensation and benefits.

153. As a direct and proximate result of Defendants’ unlawful retaliatory conduct in
violation of Section 1985(3), Plaintiff has suffered and continues to suffer severe mental anguish
and emotional distress, including, but not limited to, humiliation, embarrassment, stress and
anxiety, loss of self-esteem and self-confidence, and emotional! pain and suffering for which she is
entitled to an award of monetary damages and other relief.

154. Defendants’ unlawful retaliatory acts constitute willful and wanton violations of
Section 1985(3), and were outrageous, malicious, intended to injure Plaintiff, and done with

conscious disregard of Plaintiff's civil rights, entitling Plaintiff to an award of punitive damages.

COUNT 11: VIOLATION OF 42 U.S.C. § 19853)
CONSPIRACY TO INTERFERE WITH CIVEL RIGHTS: RETALIATION
(AGAINST DEFENDANTS QUINN EMANUEL, BURCK, SHAFFER, AND COREY)
155. Plaintiff realleges and incorporates each and every allegation in this Complaint and
_ discrimination charge.

156. In violation of Section 1985(3), Defendants Quinn Emanuel, Burck, Corey, and
Shaffer conspired, directly or indirectly, and with others, including the arbitration company JAMS,
for the purpose of depriving Plaintiff of her right to Equal Protection of the law and to be free from
unlawful retaliation for opposing intentional and invidious employment discrimination.

157. | Among other things, Defendants agreed to retaliate against Plaintiff for engaging

in protected activities opposing Defendants’ discriminatory conduct by denying Plaintiff

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promotional consideration, wrongfully terminating Plaintiffs employment without cause, and then
manufacturing reasons to retroactively justify their earlier decisions. Defendants acted in
furtherance of the conspiracy in several ways, including, but not limited to, intentionally
suppressing Plaintiff's billable hours subjecting Plaintiff to targeted and heightened scrutiny, and
disparaging Plaintiff to others, and subjecting to harassment and other wrongful conduct in
Defendants’ frivolous and retaliatory arbitration lawsuit against Mr. Nwaneri, Senior.

158. As a result of Defendants’ conspiracy, Plaintiff was wrongfully denied
consideration for promotion, unlawfully terminated without justification, and deprived of Equal
Protection of the law.

159. As a direct and proximate result of Defendants’ violations of Section 1985(3),
Plaintiff has suffered and continues to suffer monetary damages, including, but not limited to, loss
of past and future income, compensation and benefits.

160. Asa direct and proximate result of Defendants’ unlawful retaliatory conduct in
violation of Section 1985(3), Plaintiff has suffered and continues to suffer severe mental anguish
and emotional distress, including, but not limited to, humiliation, embarrassment, stress and
anxiety, loss of self-esteem and self-confidence, and emotional pain and suffering for which she is
entitled to an award of monetary damages and other relief.

161. Defendants’ unlawful retaliatory acts constitute willful and wanton violations of
Section 1985(3), and were outrageous, malicious, intended to injure Plaintiff, and done with
conscious disregard of Plaintiff's civil rights, entitling Plaintiff to an award of punitive damages.

162. Defendants’ unlawful retaliatory acts constitute willful and wanton violations of
Section 1985(3), and were outrageous, malicious, intended to injure Plaintiff, and done with

conscious disregard of Plaintiff's civil rights, entitling Plaintiff to an award of punitive damages.

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COUNT 12: VIOLATION OF THE DISTRICT OF COLUMBIA HUMAN RIGHTS
ACT, D.C. Code §§ 2-1401, et seq.
HOSTILE WORK ENVIRONMENT & HARASSMENT
(AGAINST DEFENDANTS QUINN EMANUEL, BURCK, SHAFFER, AND COREY)
163. Plaintiff realleges and incorporates each and every allegation of this Compiaint.
164. Defendants Quinn Emanuel, Burck, Shaffer, and Corey, are all “employers” within
the meaning of the DCHRA, and unlawfully discriminated against Plaintiff by creating a hostile
work environment in which Plaintiff was the subject of extensive harassment at the hands of her
colleagues and supervisors, including Burck and Shaffer. A reasonable person would find their
conduct and the resulting environment to be abusive, and Defendants’ harassment substantially
affected the terms and conditions of Plaintiff's employment, including adverse actions such as
undesirable reassignments, significant reductions in her responsibilities, the suppression of her
‘billable hours, and Plaintiffs wrongful termination, in violation of the DCHRA.
165. Defendants’ conduct has been intentional, deliberate, willful, malicious, reckless,
and conducted in callous disregard of the rights of Plaintiff, entitling her to punitive damages.
166. Asaresult of Defendants’ conduct alleged in this Complaint, Plaintiff has suffered
and continues to suffer harm, including, but not limited to, lost earnings, lost benefits, and other
severe financial losses, as well as humiliation, embarrassment, emotional and physical distress,
and mental anguish.

167. Due to Defendants’ discrimination, Plaintiff is entitled to all legal and equitable

remedies available for violations of the DCHRA, including an award of punitive damages.

COUNT 13: VIOLATION OF THE DISTRICT OF COLUMBIA HUMAN RIGHTS
ACT, D.C. Code §§ 2-1401, et seq.

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RETALIATION
(AGAINST DEFENDANTS QUINN EMANUEL, BURCK, SHAFFER, AND COREY)

168. Plaintiff realleges and incorporates each and every allegation in this Complaint and
discrimination charge.

169. Defendants Quinn Emanuel, Burck, Shaffer, and Corey, are all “employers” within
the meaning of the DCHRA, and unlawfully discriminated against Plaintiff by retaliating against
her for opposing race and gender discrimination, in violation of the DCHRA.

170. Defendants’ unlawful retaliation includes, but is not limited to, deciding in July
2015 to deny partnership or promotion consideration to Plaintiff without cause and in
contravention of the law firm’s policies, deciding in August 2015 to wrongfully terminate
Plaintiff's employment without justification, and making extensive post hoc efforts to find or
- otherwise manufacture a justification for Defendants’ July and August 2015 decisions by
subjecting Plaintiff to heightened and unprecedented scrutiny, along with affirmative acts intended.
to suppress Plaintiff's billable hours.

171. In addition, Defendants also retaliated against Plaintiff and her close family
members includes, but is not limited to, Quinn Emanuel’s retaliatory cancellation of its
representation agreement with Plaintiff's father-in-law, Mr. Nwaneri, Senior in July 2016 (based
on falsely inflated bills and a few days after Plaintiff's June 30, 2016 complaint regarding
misconduct by Defendants and others), Quinn Emanuel’s retaliatory arbitration lawsuit in March
2017 (which Defendants initiated 3 days after Defendants’ receipt of Plaintiff's February 27, 2017
employment discrimination charge) against Mr. Nwaneri, Senior, and Defendants’ use of the
arbitration lawsuit to intimidate, extort, and humiliate Plaintiff and Mr. Nwaneri, Senior.

172. Defendants’ unlawful retaliatory conduct is likely to dissuade an employee from

engaging in protected activity.

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173. Defendant’s conduct has been intentional, deliberate, willful, malicious, reckless,
‘and conducted in callous disregard of the rights Plaintiff, entitling her to punitive damages.

174. Asaresult of Defendant’s conduct alleged in this Complaint, Plaintiff suffered and
continues to suffer harm, including but not limited to lost earnings, lost benefits and other
financial loss, including interest.

175. Due to Defendant’s discrimination, Plaintiff is entitled to ail legal and equitable
remedies available for violations of the DCHRA, including an award of punitive damages.
COUNT 14: VIOLATION OF THE DISTRICT OF COLUMBIA HUMAN RIGHTS
ACT, D.C. Code §§ 2-1401, et seq.

RACE DISCRIMINATION
(AGAINST DEFENDANT QUINN EMANUEL)

176. Plaintiff realleges and incorporates each and every allegation of this Complaint.

177. Defendant Quinn Emanuel, an employer within the meaning of the DCHRA,
wrongfully discriminated against Plaintiff by treating her differently from, and less preferably
than, similarly situated white employces. Defendants’ disparate treatment resulted in several
adverse employment actions that materially affected Plaintiff's employment in violation of the
DCHRA, including the loss of promotional opportunities, wrongful termination, and less
compensation.

178. Defendant’s conduct has been intentional, deliberate, willful, malicious, reckless,
and conducted in callous disregard of the rights of Plaintiff, entitling her to punitive damages.

179. Asaresult of Defendant’s conduct alleged in this Complaint, Plaintiff has suffered
and continues to suffer harm, including, but not limited to, lost earnings, lost benefits, and other

severe financial losses, as well as humiliation, embarrassment, emotional and physical distress,

and mental anguish.

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180. Due to Defendant’s discrimination, Plaintiff is entitled to all legal and equitable

remedies available for violations of the DCHRA, including an award of punitive damages.
COUNT 15: VIOLATION OF THE DISTRICT OF COLUMBIA HUMAN RIGHTS
ACT, D.C. Code §§ 2-1401, et seq.
GENDER DISCRIMINATION
(AGAINST DEFENDANT QUINN EMANUEL)

181. Plaintiff reaileges and incorporates each and every allegation of this Complaint.

182. Defendant Quinn Emanuel, an employer within the meaning of the DCHRA, has
discriminated against Plaintiff by treating her differently from, and less preferably than, similarly
situated males by subjecting her to disparate treatment, including loss of promotional
opportunities, wrongful termination, and pay discrimination in violation of the DCHRA.

183. Defendant’s conduct has been intentional, deliberate, willful, malicious, reckless,
and conducted in callous disregard of the rights of Plaintiff, entitling her to punitive damages.

184. Asaresult of Defendant’s conduct alleged in this Complaint, Plaintiff has suffered .
and continues to suffer harm, including, but not limited to, lost earnings, lost benefits, and other
severe financial losses, as well as humiliation, embarrassment, emotional and physical distress,
and mental anguish.

185. Due to Defendant’s discrimination, Plaintiff is entitled to all legal and equitable

remedies available for violations of the DCHRA, including an award of punitive damages.

COUNT 16: VIOLATION OF THE DISTRICT OF COLUMBIA HUMAN RIGHTS
ACT, D.C. Code §§ 2-1401, et seq.
PREGNANCY AND MATERNITY (SEX PLUS) DISCRIMINATION
(AGAINST DEFENDANT QUINN EMANUEL)
186. Plaintiff realleges and incorporates each and every allegation in this Complaint and

discrimination charge.

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187. Defendant Quinn Emanuel has discriminated against Plaintiff on the basis of her
gender, including pregnancy and maternity. Defendant has subjected Plaintiff to disparate
treatment on the basis of her pregnancy, return from maternity leave, and status as a new mother
with respect to Defendant’s policies, compensation, practices, and procedures. In addition,
Defendant subjected Plaintiff to substandard terms and conditions of employment such as
discriminatory denials of promotional opportunities and discriminatory treatment with respect to
leave and work responsibilities in violation of the DCHRA.

188. As a result of Quinn Emanue!’s conduct alleged in this Complaint, Plaintiff has
suffered and continue to suffer harm, including, but not limited to, lost earnings, lost benefits,
and other financial loss, as well as humiliation, embarrassment, emotional and physical
distress, and mental anguish.

189. Asa result of Defendant’s discrimination, Plaintiff is entitled to all legal and

equitable remedies available for violations of the DCHRA, including an award of punitive

damages.

COUNT 17: VIOLATION OF THE DISTRICT OF COLUMBIA HUMAN RIGHTS ACT,
D.C. Code §§ 2-1401, et seq.
FAMILY RESPONSIBILITIES DISCRIMINATION
(AGAINST DEFENDANT QUINN EMANUEL)
190. Plaintiff realleges and incorporates each and every allegation of this Complaint.
191. Defendant Quinn Emanuel, an employer within the meaning of the DCHRA,
subjected Plaintiff to disparate treatment on the basis of her family responsibilities and status as a

new mother with respect to Defendant’s policies, compensation, and practices, and procedures. In

addition, Defendant subjected Plaintiff to substandard terms and conditions of employment such

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as discriminatory treatment with respect to leave and work responsibilities in violation of the
DCHRA.

192. Defendant’s conduct has been intentional, deliberate, willful, malicious, reckless
and conducted in callous disregard of the rights of Plaintiff, entitling her to punitive damages.

193. Asaresult of Defendant’s conduct alleged in this Complaint, Plaintiff has suffered
and continues to suffer harm, including, but not limited to, lost earnings, lost benefits, and other
severe financial losses, as well as humiliation, embarrassment, emotional and physical distress,
and mental anguish.

194. Due to Defendant’s discrimination, Plaintiff is entitled to all legal and equitable

remedies available for violations of the DCHRA, including an award of punitive damages.

COUNT 18: VIOLATION OF THE DISTRICT OF COLUMBIA HUMAN RIGHTS ACT,
D.C. Code §§ 2-1401, et seq.
WRONGFUL TERMINATION
(AGAINST DEFENDANT QUINN EMANUEL)

195. Plaintiff realleges and incorporates each and every allegation of this Complaint.

196, Defendant Quinn Emanuel, anemployer within the meaning of the DCHRA,
wrongfully terminated Plaintiffs employment due to discrimination based on her race, gender,
_ family responsibilities (including her return from maternity leave in 2015), and in retaliation for
her discrimination complaints. Plaintiffs wrongful termination was an adverse employment
action that materially and adversely affected Plaintiff's employment in violation of the DCHRA.

197. Defendant’s conduct has been intentional, deliberate, willful, malicious, reckless

and conducted in callous disregard of the rights of Plaintiff, entitling her to punitive damages.

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198. Asaresult of Defendant’s conduct alleged in this Complaint, Plaintiff has suffered
and continues to suffer harm, including, but not limited to, lost earnings, lost benefits, and other
severe financial losses, as well as humiliation, embarrassment, emotional and physical distress,
and mental anguish.

199. Due to Defendant’s discrimination, Plaintiff is entitled to all legal and equitable

remedies available for violations of the DCHRA, including an award of punitive damages.

COUNT 19: VIOLATION OF THE DISTRICT OF COLUMBIA HUMAN RIGHTS ACT,
D.C. Code §§ 2-1401, et seq.
RACE DISCRIMINATION AND/OR SUBTERFUGE

(AGAINST INDIVIDUAL DEFENDANTS BURCK, COREY, AND SHAFFER)

200. Plaintiff realleges and incorporates each and every allegation of this Complaint.

201. Defendants Burck, Corey, and Shaffer are “employers” within the meaning of the
DCHRA and individually liable for wrongfully discriminating against Plaintiff by treating her
differently from, and less preferably than, similarly situated white employees. Defendants’
disparate treatment resulted in several adverse employment actions that materially affected
Plaintiff's employment in violation of the DCHRA, including the suppression of Plaintiff's billable
hours, loss of promotional opportunities, wrongful termination, and less compensation.

202. Defendants also unlawfully discriminated against Plaintiff by deciding in July and
August 2015 to deny Plaintiff consideration for partnership and to terminate her employment
without cause, withhold that information until May 2016 (while misleading Plaintiff about her
status at the firm and making efforts to retroactively justify their decisions by suppressing her

billable hours and subjecting her to heightened scrutiny), and manufacture a post hoc rationale for

their adverse and discriminatory employment decisions.

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203. Defendants’ conduct has been intentional, deliberate, willful, malicious, reckless,
and conducted in callous disregard of the rights of Plaintiff, entitling her to punitive damages.

204. As aresult of Defendants’ conduct alleged in this Complaint, Plaintiff has suffered
and continues to suffer harm, including, but not limited to, lost earnings, lost benefits, and other
severe financial losses, as well as humiliation, embarrassment, emotional and physical distress,
and mental anguish.

205, Due to Defendants’ discrimination, Plaintiff is entitled to all legal and equitable

remedies available for violations of the DCHRA, including an award of punitive damages.

COUNT 260: VIOLATION OF THE DISTRICT OF COLUMBIA HUMAN RIGHTS ACT,
D.C, Code §§ 2-1401, et seq.
GENDER DISCRIMINATION AND/OR SUBTERFUGE

(AGAINST INDIVIDUAL DEFENDANTS BURCK, COREY, AND SHAFFER)

206. Plaintiff realleges and incorporates each and every allegation of this Complaint.

207. Defendants Burck, Corey, and Shaffer are “employers” within the meaning of the
DCHRA and individually liable for wrongfully discriminating against Plaintiff by treating her
differently from, and less preferably than, similarly situated male employees. Defendants’
disparate treatment resulted in several adverse employment actions that materially affected
Plaintiff's employment in violation of the DCHRA, including the suppression of Plaintiff s billable
hours, loss of promotional opportunities, wrongful termination, and less compensation.

208. Defendants also unlawfully discriminated against Plaintiff by deciding in July and
August 2015 to deny Plaintiff consideration for partnership and to terminate her employment

without cause, withhold that information until May 2016 (while misleading Plaintiff about her

status at the firm and making efforts to retroactively justify their decisions by suppressing her

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billable hours and subjecting her to heightened scrutiny), and manufacture a post hoc rationale for
their adverse and discriminatory employment decisions. |

209. Defendants’ conduct has been intentional, deliberate, willful, malicious, reckless,
and conducted in callous disregard of the rights of Plaintiff, entitling her to punitive damages.

210. Asaresult of Defendants’ conduct alleged in this Complaint, Plaintiff has suffered
and continues to suffer harm, including, but not limited to, lost earnings, lost benefits, and other
severe financial losses, as well as humiliation, embarrassment, emotional and physical distress,
and mental anguish.

911. Due to Defendant’s discrimination, Plaintiff is entitled to all legal and equitable

remedies available for violations of the DCHRA, including an award of punitive damages.

COUNT 21: VIOLATION OF THE DISTRICT OF COLUMBIA HUMAN RIGHTS
ACT, D.C. Code §§ 2-1401, et seq.
PREGNANCY AND MATERNITY (SEX PLUS) DISCRIMINATION AND/OR
SUBTERFUGE

(AGAINST INDIVIDUAL DEFENDANTS BURCK, COREY, AND SHAFFER)

212. Plaintiff realleges and incorporates each and every allegation in this Complaint and
discrimination charge.

213. Defendant Quinn Emanuel has discriminated against Plaintiff

214. Defendants Burck, Corey, and Shaffer are “employers” within the meaning of the
DCHRA and individually liable for wrongfully discriminating against Plaintiff on the basis of her
gender, including pregnancy and maternity. Defendant subjected Plaintiff to disparate treatment
on the basis of her pregnancy, return from maternity leave, and status as a new mother with respect

to Defendant’s policies, compensation, and practices, and procedures. In addition, Defendant

subjected Plaintiff to substandard terms and conditions of employment such as discriminatory

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denials of promotional opportunities, discriminatory treatment with respect to leave and work
responsibilities in violation of the DCHRA.

215. Defendants also unlawfully discriminated against Plaintiff by deciding in July and
August 2015 to deny Plaintiff consideration for partnership and to terminate her employment
without cause, withhold that information until May 2016 (while misleading Plaintiff about her
status at the firm and making efforts to retroactively justify their decisions by suppressing her
billable hours and subjecting her to heightened scrutiny), and manufacture a post hoc rationale for
their adverse and discriminatory employment decisions.

216. Asaresult of Defendants’ conduct alleged in this Complaint, Plaintiff has suffered
and continues to suffer harm, including, but not limited to, lost earnings, lost benefits, and
other financial loss, as well as humiliation, embarrassment, emotional and physical distress,
and mental anguish.

217. Asa result of Defendants’ discrimination, Plaintiff is entitled to all legal and
equitable remedies available for violations of the DCHRA, including an award of punitive

damages.

COUNT 22: VIOLATION OF THE DISTRICT OF COLUMBIA HUMAN RIGHTS ACT,
D.C. Code §§ 2-1401, et seq.
FAMILY RESPONSIBILITIES DISCRIMINATION AND/OR SUBTERFUGE
(AGAINST INDIVIDUAL DEFENDANTS BURCK, COREY, AND SHAFFER)
218. Plaintiff realleges and incorporates each and every allegation of this Complaint.
219. Defendants Burck, Corey, and Shaffer are “employers” within the meaning of the
DCHRA and individually liable for wrongfully discriminating against Plaintiff on the basis of her

gender, including pregnancy and maternity. Defendant subjected Plaintiff to disparate treatment

on the basis of her family responsibilities and status as a new mother by subjecting Plaintiff to

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substandard terms and conditions of employment such as punitive changes in case schedules to
conflict with Plaintiff's family responsibilities and discriminatory treatment with respect to leave
and work responsibilities in violation of the DCHRA.

220. Defendants also unlawfully discriminated against Plaintiff by deciding in July and
August 2015 to deny Plaintiff consideration for partnership and to terminate her employment
without cause, withhold that information until May 2016 (while misleading Plaintiff about her
status at the firm and making efforts to retroactively justify their decisions by suppressing her
billable hours and subjecting her to heightened scrutiny), and manufacture a post hoc rationale for
their adverse and discriminatory employment decisions. |

921. Asaresult of Defendants’ conduct alleged in this Complaint, Plaintiff has suffered
and continues to suffer harm, including, but not limited to, lost earnings, lost benefits, and
other financial loss, as well as humiliation, embarrassment, emotional and physical distress,
and mental anguish.

922. As a result of Defendants’ discrimination, Plaintiff is entitled to all legal and

equitable remedies available for violations of the DCHRA, including an award of punitive

damages.

COUNT 23: VIOLATION OF THE DISTRICT OF COLUMBIA HUMAN RIGHTS ACT,
D.C. Code §§ 2-1401, et seq.
WRONGFUL TERMINATION AND/OR SUBTERFUGE
(AGAINST INDIVIDUAL DEFENDANTS BURCK, COREY, AND SHAFFER)
223. Defendants Burck, Corey, and Shaffer are “employers” within the meaning of
the DCHRA, wrongfully terminated Plaintiff's employment due to discrimination based on her

race, gender, family responsibilities (including her return from maternity leave in 2015), and in

retaliation for her complaints of discriminatory treatment. Plaintiff's wrongful termination was an

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adverse employment action that materially and adversely affected Plaintiff's employment in
violation of the DCHRA.

224. Defendants also unlawfully discriminated against Plaintiff by deciding in July and
August 2015 to deny Plaintiff consideration for partnership and to terminate her employment
without cause, withhold that information until May 2016 (while misleading Plaintiff about her
status at the firm and making efforts to retroactively justify their decisions by suppressing her
billable hours and subjecting her to heightened scrutiny), and manufacture a post hoc rationale for
their adverse and discriminatory employment decisions.

225, Defendants’ conduct has been intentional, deliberate, willful, malicious, reckless
and conducted in callous disregard of the rights of Plaintiff, entitling her to punitive damages.

226. Asaresult of Defendants’ conduct alleged in this Complaint, Plaintiff has suffered
and continues to suffer harm, including, but not limited to, lost earnings, lost benefits, and other
severe financial losses, as well as humiliation, embarrassment, emotional and physical distress,
and mental anguish.

227. Due to Defendants’ discrimination, Plaintiff is entitled to all legal and equitable

remedies available for violations of the DCHRA, including an award of punitive damages.

COUNT 24: VIOLATION OF THE DISTRICT OF COLUMBIA HUMAN RIGHTS
ACT, D.C. Code §§ 2-1401, et seq.
AIDING AND ABETTING
(AGAINST INDIVIDUAL DEFENDANTS BURCK, COREY, AND SHAFFER)
228. Plaintiff alleges and incorporates each and every allegation of this Complaint.

229. Upon information and belief, Defendants Burck, Corey, and Shaffer all actively

and knowingly participated in practices that resulted in discrimination, retaliation, and wrongful

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termination based on Plaintiffs race, gender, and family responsibilities in violation of the
DCHRA.

230. By aiding, abetting, inviting, compelling and/or coercing Defendant Quinn
Emanuel in its discriminatory practices and decisions, each Individual Defendant has aided and
abetted both Defendant Quinn Emanuel and each of the other individual defendant's
discrimination against Plaintiff, in violation of D.C. Code § 2-1402.62.

931. Defendants’ conduct has been intentional, deliberate, willful, reckless, and
conducted in callous disregard of Plaintiff s rights.

232. By reason of Defendants’ aiding and abetting discrimination, Plaintiff is entitled
to all legal and equitable remedies available for violations of the DCHRA, including an

award of punitive damages.

COUNT 25: VIOLATION OF THE FAMILY MEDICAL LEAVE ACT,
29 U.S.C. § 2601 et seq.
DISCRIMINATION, INTERFERENCE, AND RETALIATION
(AGAINST DEFENDANT QUINN EMANUEL)

233, Plaintiff realleges and incorporates each and every allegation in this Complaint and
discrimination charge.

234. Under the FMLA, an employee must be restored by the employer to the same
position held by the employee when the leave commenced, or to an equivalent position with
equivalent employment benefits, pay, and other terms and conditions of employment. The FMLA
also precludes an employer from treating the use of FMLA leave as a “negative factor” in
employment actions such as hiring, promotions, or disciplinary actions.

235. Quinn Emanuel retaliated against Plaintiff for taking FMLA leaves in 2014 in

various ways upon her return to the firm in 2015, including but not limited to, diminishing her role

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on billable matters, and refusing to assign her to any suitable or significant litigation matters upon
her return from FMLA leave, and ultimately denied Plaintiff consistent billable work, which
further decreaed Plaintiff's billable hours. Defendant further limited Plaintiff's opportunities to
amass meaningful experience and/or develop a portfolio for partnership candidacy by refusing to
consider Plaintiff for promotion and instead deciding to terminate Plaintiff despite her positive
performance review and deferral of partnership consideration.

236. Defendant acted willfully, intentionally, and with reckless disregard for Plaintiffs
rights under the FMLA. _As a direct and proximate result of Defendant’s actions, Plaitniff suffered
injury and monetary damages, including, but not limited to, past and future loss of income, benefits,
promotion and promotional opportunities, expenses, and costs..

237. Due to Defendant’s discrimination, Plaintiff is entitled to all legal and equitable
remedies available for violations of the FMLA, including an award of liquidated damages for all

willful violations, pursuant to 29 U.S.C. § 2617.

COUNT 26: VIOLATION OF THE DISTRICT OF COLUMBIA FAMILY AND
MEDICAL LEAVE ACT, D.C. CODE §32-501 et seq.
DISCRIMINATION, INTERFERENCE AND RETALIATION

238. Plaintiff realleges and incorporates each and every allegation in this Complaint and
discrimination charge.

239. Quinn Emanuel interefered with Plaintiff's taking of protected maternity leave and
retaliated agaisnt her upon her return for the taking of such leave, in violation of the DCFMLA.

Quinn Emanuel discriminated agaisnt and retaliated agaisnt Plaintiff for her taking DCFMLA

leave by treating it as a negative factor in employment actiions, such as failing to promote Plaintiff,

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denying her carareer-advancemet and other development opportunities, and creating an
environment hostile to individuals who have taken the statutorily protective maternity leave.

240. Quinn Emanuel retaliated against Plaintiff for taking DCFMLA leaves in 2013 and
014 in various ways upon her return to the firm in 2015, including but not limited to, diminishing
her role on billable matters, and refusing to assign her to any suitable or significant litigation
matters upon her return from DCFMLA leave, and ultimately denied Plaintiff consistent billable
work, which further decreaed Plaintiff's billable hours. Defendant further limited Plaintiff's
opportunities to amass meaningful experience and/or develop a portfolio for partnership candidacy
by refusing to consider Plaintiff for promotion and instead deciding to terminate Plaintiff despite
her positive performance review and deferral of partnership consideration.

241. Defendant acted willfully, intentionally, and with reckless disregard for Plaintiffs
rights under the FMLA. As a direct and proximate result of Defendant’s actions, Plaitniff suffered
injury and monetary damages, including, but not limited to, past and future oss of income,
benefits, promotion and promotional opportunities, expenses, and costs.

242. Pue to Defendant’s discrimination, interference, and retaliation, Plaintiff is entitled
to all legal and equitable remedies available for violations of the DCFMLA, including an award of

compensatory damangs, consequential damages, and prejudgment interest.

COUNT 27: VIOLATION OF TITLE VII OF THE CIVIL RIGHTS ACT OF 1964, 42
U.S.C. §§ 2000e, et seq., AS AMENDED BY THE PREGNANCY DISCRIMINATION
ACT OF 1978
PREGNANCY AND MATERNITY (SEX PLUS)

(AGAINST DEFENDANT QUINN EMANUEL)

243. Plaintiff realleges and incorporates each and every allegation in this Complaint and

discrimination charge.

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244. Defendant discriminated against Plaintiff by subjecting her to discriminatory pay
in violation of the Equal Pay Act. The differential in pay between male and female attorneys
was not due to a legitimate seniority system, merit, quantity or quality of production, or a factor
other than sex, but was due to gender.

245. Defendant Quinn Emanuel attempted to cause, or contributed to the continuation of
pay discrimination based on gender, in violation of the EPA. The foregoing conduct constitutes a
willful violation of the EPA within the meaning of 29 U.S.C. § 255(a) and requires the application
of the three-year limitations period for these violations, pursuant to 29 U.S.C, § 255.

946. Asa result of Defendant’s conduct as alleged in this Complaint, Plaintiff has
suffered harm, including, but not limited to, lost earnings, lost benefits and other financial thay,
as well as humiliation, embarrassment, emotional and physical distress, and mental anguish.

247. As a result of Defendant’s discrimination, Plaintiff is entitled to all legal and
equitable remedies available for violations of the EPA, including liquidated damages, interest, and

other compensation pursuant to 29 U.S.C. § 216(b).

COUNT 28: VIOLATION OF TITLE VII OF THE CIVIL RIGHTS ACT OF 1964
42 U.S.C. §2000e-2(a), et seq.
WRONGFUL TERMINATION
(AGAINST DEFENDANT QUINN EMANUEL)

248. Plaintiff realleges and incorporates each and every allegation in this Complaint and
discrimination charge.

249. Defendant Quinn Emanuel terminated Plaintiff's employment due to race, gender,
and pregnancy discrimination. Defendant’s discharge of Plaintiff was an adverse employment

action that materially and adversely changed the overall terms and conditions of her employment

in violation of Title VIL.

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250. Defendant’s conduct was intentional, deliberate, willful, malicious, reckless, and
conducted in callous disregard to the rights of Plaintiff, entitling her to punitive damages.

251. Asa result of Defendant’s discharge, Plaintiff suffered harm, including, without
limitation, lost earnings, lost benefits, and other severe financial losses, as well as humiliation,
embarrassment, emotional and physical distress.

252. Plaintiff is therefore entitled to all legal and equitable remedies available for

violations of Title VII, including an award of punitive damages.

COUNT 29: VIOLATION OF TITLE VII OF THE CIVIL RIGHTS ACT OF 1964
42 U.S.C. §2000e-2(a), et seq.
RETALIATION
(AGAINST DEFENDANT QUINN EMANUEL)

253. Plaintiff realleges and incorporates each and every allegation in this Complaint and
discrimination charge.

254. In violation of Title VII, Defendant Quinn Emanuel retaliated against Plaintiff for
engaging in the protected activity of opposing and reporting incidents of race discrimination.

255. Defendant’s retaliatory and discriminatory acts against Plaintiff included, but were
not limited to, denying promotional opportunities to Plaintiff, increased scrutiny, and wrongful
termination.

256. Additionally, Defendant retaliated against Plaintiff and her close family members
by subjecting them to several adverse actions, including, but not limited to, cancelling Quinn
Emanuel’s representation agreement with Plaintiff's father-in-law, Mr. Nwaneri, Senior, under the
pretense of unpaid legal bills and refusing to correct or accept any payment toward the corrected

bills; filing a retaliatory arbitration lawsuit against Plaintiffs father-in-law for a nominal amount

of money immediately after Plaintiff filed her February 2017 discrimination charge alleging

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Defendant’s violation of Title VII and other anti-discrimination laws, and Defendant’s abuse of its
arbitration lawsuit to harass, extort, humiliate, and intimidate Plaintiff and Mr. Nwaneri, Senior.

957. Defendants unlawful retaliatory acts are likely to dissuade an employee from
engaging in protected activity.

258. As a direct and proximate result of Defendant’s unlawful retaliatory conduct in
violation of Title VII, Plaintiff has suffered and continues to suffer monetary and/or economic
damages, including, but not limited to, loss of past and future income, compensation and benefits
for which she is entitled to an award of monetary damages and other relief.

259. Asa direct and proximate result of Defendant’s unlawful retaliation in violation of
Title VII, Plaintiff has suffered and continues to suffer severe mental anguish and emotional
distress, including, but not limited to, humiliation, embarrassment, stress and anxiety, loss of self-
esteem and self-confidence, and emotional pain and suffering for which she is entitled to an award
of monetary damages and other relief.

260. Defendant’s unlawful retaliatory conduct constitutes a willful and wanton violation
of Section 1981, was outrageous, malicious, was intended to injure Plaintiff, and was done with
conscious disregard of Plaintiff's civil rights, entitling Plaintiff to an award of punitive damages.

261. Plaintiff is therefore entitled to all legal and equitable remedies available for

violations of Title VII, including an award of punitive damages.

COUNT 30: VIOLATION OF TITLE VII OF THE CIVIL RIGHTS ACT OF 1964
42 U.S.C. §20000e-2(a), et seq.
HOSTILE WORK ENVIRONMENT & HARASSMENT
(AGAINST DEFENDANT QUINN EMANUEL)
262. Plaintiff realleges and incorporates each and every allegation in this Complaint and

discrimination charge.

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263. In violation of Title VI, Defendant intentionally discriminated against Plaintiff on
the basis of her race and gender by subjecting Plaintiff to a hostile work environment and
harassment that was severe or pervasive enough to alter the terms and conditions of her
employment.

264. Defendant Quinn Emanuel is strictly liable for this violation because, as alleged in
this Complaint: Defendant had actual and constructive knowledge of the extensive supervisory
harassment and hostility Plaintiff was subjected to by her supervisors, including Burck and
Shaffer; a reasonable person would find their conduct and the resulting environment to be hostile
and abusive; and Defendants' harassment resulted in several adverse employment actions against
Plaintiff, including undesirable reassignments, significant reductions in her responsibilities, the
suppression of her billable hours, and culminated in Plaintiff's termination.

265. As a direct and proximate cause of Quinn Emanuel's actions, Plaintiff suffered
injury and monetary damages, including, but not limited to, past and future loss of income,
benefits, promotion, promotional opportunities, mental anguish, humiliation, expenses and costs.

266. Asa result of Defendant's unlawful conduct, Plaintiff is entitled to compensatory
damages, including, but not limited to, lost wages, damages for emotional distress, punitive
damages; pre- and post-judgment interest; attorneys’ fees and costs; and such other legal and
equitable relief as just and proper.

267. Defendant’s discharge of Plaintiff was an adverse employment action that
materially and adversely changed the overall terms and conditions of her employment in violation
of Title VU.

268. Defendant’s conduct was intentional, deliberate, willful, malicious, reckless,

and conducted in callous disregard to the rights of Plaintiff, entitling her to punitive damages.

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269, Asa result of Defendant’s discharge, Plaintiff suffered harm, including, without
limitation, lost earnings, lost benefits, and other severe financial losses, as well as
humiliation, embarrassment, emotional and physical distress.

270. Plaintiff is therefore entitled to all legal and equitable remedies available for
violations of Title VII, including an award of punitive damages.

COUNT 31: TORTIOUS INTERFERENCE WITH EMPLOYMENT RELATIONSHIP
(AGAINST DEFENDANTS BURCK, COREY, AND SHAFFER)

271. Plaintiff realleges and incorporates each and every allegation in this Complaint and
discrimination charge.

272. In violation of D.C. tort law, Defendants improperly interfered with Plaintiff's
continued employment relationship with Quinn Emanuel, by, among other things, using fraudulent
methods to suppress Plaintiff's billable hours and prevent Plaintiff from obtaining other billable
work, sabotaging Plaintiff's billable work assignments and business development proposals, and
knowingly making false and defamatory statements about Plaintiff to dissuade other partners from
working with her.

273. Defendants’ interference also included the harassing and discriminatory conduct
alleged in this Complaint, including, but not limited to, heightened scrutiny of Plaintiff's work,
verbal abused, and more frequent and harsh criticism of Piaintiff.

274. Defendants’ improper interference caused Plaintiffs billable hours to fall
drastically, prevented Plaintiff from acquiring or continuing work with other partners at the law

firm, and ultimately resulted in Defendant’s wrongful termination of Plaintiff.

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275. As a direct and proximate cause of Defendants’ tortious interference, Plaintiff
suffered injury and monetary damages, including, but not limited to, past and future loss of income,
benefits, promotion, promotional opportunities, mental anguish, humiliation, expenses and costs.

276. Asaresult of Defendants’ tortious interference, Plaintiff is entitled to compensatory
damages, including, but not limited to, lost wages, damages for emotional distress, punitive
damages; pre- and post-judgment interest; attorneys’ fees and costs; and such other legal and

equitable relief as just and proper.

COUNT 32: WRONGFUL DISCHARGE AGAINST PUBLIC POLICY
(AGAINST DEFENDANTS BURCK, COREY, AND SHAFFER)

277. Plaintiff realleges and incorporates each and every allegation in this Complaint and
discrimination charge.

278. In violation of public policy, Defendants wrongfully terminated Plaintiff through
tortious interference with Plaintiff's employment relationships, defamation, discrimination and
retaliation unlawful under various statutes, and other improper and/or malicious conduct.

279, Defendants’ wrongful termination of Plaintiff violated public policy and has caused
Plaintiff to suffer injury and monetary damages, including, but not limited to, past and future loss
of income, benefits, promotion, promotional opportunities, mental anguish, humiliation, expenses
and costs.

980. Asaresult of Defendant's tortious interference, Plaintiff is entitled to compensatory
damages, including, but not limited to, lost wages, damages for emotional distress, punitive
damages: pre- and post-judgment interest; attorneys’ fees and costs; and such other legal and

equitable relief as just and proper.

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COUNT 33: UNJUST ENRICHMENT / QUANTUM MERUIT
(AGAINST DEFENDANT QUINN EMANUEL)

981. Plaintiff realleges and incorporates each and every allegation in this Complaint and
discrimination charge.

282. Plaintiff provided legal services for Defendant for several years and earned at least
4 weeks’ of vacation time by the time of her departure from the law firm in 2016. Defendant is
aware of Plaintiff’s vacation accrual and the law firm’s standard practice of compensating
employees for such accruals upon departure. Despite that, Defendant has refused to compensate
Plaintiff for any accrued vacation time in 2016.

283. Asaresult, Defendant has been unjustly enriched by withholding pay for vacation
time Plaintiff earned and accrued in 2016.

284. Plaintiff is therefore entitled to all equitable remedies and other relief the court

deems proper.

COUNT 34: CIVIL CONSPIRACY
(AGAINST DEFENDANTS QUINN EMANUEL, BURCK, SHAFFER, AND COREY)

285, Plaintiff realleges and incorporates each and every allegation in this Complaint and
discrimination charge.

286. Defendants Quinn Emanuel, Burck, Corey, and Shaffer conspired, directly or
indirectly, for the purpose of wrongfully terminating Plaintiff's employment and deny her any
opportunity for promotion without cause, and to manufacture reasons post hoc to retroactively
justify their earlier adverse employment decisions.

287. In so doing, Defendants took actions in furtherance of this conspiracy, including
intentionally suppressing Plaintiff's billable hours and subjecting Plaintiff to heightened scrutiny,

and other wrongful conduct, causing injury to Plaintiff.

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288 Defendants’? misconduct was undertaken with malice, willfulness, and reckless

indifference to Plaintiff’ s rights.

289, As a direct and proximate result of Defendants’ tortious conduct, Plaintiff has
suffered and continues to suffer monetary damages, including, but not limited to, loss of past and
future income, compensation and benefits, as well severe mental anguish and emotional distress,
including, but not limited to, humiliation, embarrassment, stress and anxiety, loss of self-esteem
and self-confidence, and emotional pain and suffering for which she is entitled to an award of

monetary damages and other relief.

290. Defendants’ unlawful acts constitute willful and wanton violations of Section
1985(3), and were outrageous, malicious, intended to injure Plaintiff, and done with conscious

disregard of Plaintiff's civil rights, entitling Plaintiff to an award of punitive damages.

VI. «=JURY DEMAND

1. Plaintiff requests a jury in this matter on all counts triable by jury.

September 17, 2020 Respectfully submitted,

On ei

Plaintiff Pro Se

By:

 

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CERTIFICATE OF SERVICE
I hereby certify that on the 17th day of September 2020, I mailed the foregoing Amended
Complaint to Defendant Quinn Emanuel Urquhart & Sullivan, LLP at:
Richard C. Smith
QUINN EMANUEL URQUHART & SULLIVAN LLP

1300 I Street NW, Floor 9
Washington, DC 20005

Respectfully submitted,

by. Qt br

 

Plaintiff Pro Se

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